
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                  __________________

          No. 95-2205

                                  AMY COHEN, ET AL.,
                               Plaintiffs - Appellees,

                                          v.

                                  BROWN UNIVERSITY,
                               Defendants - Appellants.

                                  __________________


                                     ERRATA SHEET

               The  opinion of this Court  issued on November  21, 1996, is
          amended as follows:

               On  page 9,  line 15,  replace  "women.   Id. at  981." with
                                                         ___
          "women, id. at 981.".
                  ___

               On page 10, line 18, delete extra space between "sports" and
          "--".

               On page 11, line 9, delete "id.,".
                                           ___

               On  page 11, line 12, delete "totals," id." and replace with
                                                      ___
          "totals."  Id.".
                     ___

               On page 11, line 16, delete "id.,".
                                            ___

               On  page  15,  line  36,  delete  "then"  and  replace  with
          "former".

               On page 24, line 13, insert comma after "and".

               On page 26, line 14, delete "mere" and replace with "bare".

               On page 38,  line 17, insert "for women" between "treatment"
          and "by".

               On page 42, line 18, replace "to women" with "for women".

               On page 43, line 8, delete "Cf." and replace it with "See".
                                           ___                       ___

               On   page   47,   line    7,   delete   "athletics"   before
          "opportunities".

               On page 55, lines 9 and 10, delete "in varsity competition,"
          and replace it with "at the varsity level,".














               On page 59, line 19, delete "(1989)".

               On page 62, line 5, delete "(1973)".

               On page 62, line 6, delete "(1989)".

               On page 64, lines  28 and 29, replace "is  merely" with "is,
          in effect,".

               On page 65,  line 21,  insert "as it  applies to  athletics"
          between "Title IX" and "is".

               On  page 68, line 2,  insert a new  paragraph beginning with
          "Brown first contends".

               On  page 68, line 9,  insert a new  paragraph beginning with
          "Brown also suggests".

               On page 79, line 22, replace "Court" with "court".

               On page 80, lines 3 and 6, replace "Court" with "court". 

               On page 86, lines 5 and 13, replace "Court" with "court".  

               On  page 88,  line 22, cite  to the  C.F.R. should  be:  "34
          C.F.R.   106.41(b) (1995)".

               On page 89, replace text on line 1 with: "one  sex, however,
          and where  "athletic opportunities for  members of that  sex have
          previously  been limited,  members of  the excluded  sex must  be
          allowed to".

               On  page 89, lines 11-15:   Delete two sentences:  "When the
          university  chooses a  non-contact sport,  34 C.F.R.    106.41(b)
          requires  that the school sponsors  one team for  each gender, or
          allow both sexes to try-out.  If the university chooses a contact
          sport, however, try-outs can be restricted to one sex.".

               On page 89, line 17, delete "hockey".

               On   page   95,  last   line,   delete   comma  after   "the
          interpretation chosen".

               On page 96, line 10, replace "Appellees" with "appellees".

               On page 98, line 17, replace "Appellees" with "appellees".

               On page 100, line  19, replace "Appellees" with "appellees".


               On  page  101, lines  8  and  11,  replace "Appellees"  with
          "appellees".

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               On page 103, line 2, replace "Court" with "court".

               On page 104, line 30, replace "female" with "females".

               On page 105, line 18, replace "Court" with "court".
















































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                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-2205

                                  AMY COHEN, ET AL.,
                               Plaintiffs - Appellees,

                                          v.

                              BROWN UNIVERSITY, ET AL.,
                               Defendants - Appellants.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                [Hon. Raymond J. Pettine, Senior U.S. District Judge]
                                          __________________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________
                            Bownes, Senior Circuit Judge,
                                    ____________________
                              and Stahl, Circuit Judge.
                                         _____________
                                _____________________

               Joan A.  Lukey and Walter  B. Connolly, Jr., with  whom Hale
               ______________     ________________________             ____
          and Dorr, Alison B. Marshall,  Miller, Canfield, Paddock &amp; Stone,
          ________  __________________   _________________________________
          Beverly E.  Ledbetter, General Counsel, Brown  University, Julius
          _____________________                                      ______
          C. Michaelson, Jeffrey S.  Michaelson and Michaelson &amp; Michaelson
          _____________  ______________________     _______________________
          were on brief for appellants.
               Martin  Michaelson, with  whom Amy  Folsom Kett,  Suzanne M.
               __________________             ________________   __________
          Bonnet, Hogan &amp; Hartson L.L.P.  and Sheldon E. Steinbach, General
          ______  ______________________      ____________________
          Counsel,  American  Council  on  Education,   were  on  brief for
          American   Council  on   Education,   Association   of   American
          Universities,  National Association  of Independent  Colleges and
          Universities,  and National Association of State Universities and
          Land-Grant Colleges, amici curiae.
               George  A. Davidson,  Carla  A. Kerr,  Seth  D. Rothman  and
               ___________________   ______________   ________________
          Hughes  Hubbard &amp;  Reed on  brief  for Baylor  University, Boston
          _______________________
          University,  Colgate  University,  College  of  the  Holy  Cross,
          Colorado   State   University,   Fairfield   University,   George
          Washington   University,   John  Hopkins   University,  Lafayette
          College, New  York University,  Saint  Peter's College,  Southern
          Methodist University, Tulane  University, University of Arkansas,
          University of Nebraska, University of Notre Dame, and Wake Forest
          University, amici curiae.
               Melinda Ledden Sidak  and Anita  K. Blair on  brief for  The
               ____________________      _______________
          Independent Women's Forum, amicus curiae.
               Stephen S. Ostrach,  Todd S. Brilliant and New England Legal
               __________________   _________________     _________________

                                         -1-














          Foundation on  brief for  American Baseball  Coaches Association,
          __________
          College Swim  Coaches Association of  America, National Wrestling
          Coaching Association and United States Water Polo, amici curiae.
               Lynette  Labinger,  with whom  Roney  &amp;  Labinger, Amato  A.
               _________________              __________________  _________
          DeLuca,  DeLuca &amp;  Weizenbaum, Ltd.,  Raymond Marcaccio,  Blish &amp;
          ______   __________________________   _________________   _______
          Cavanagh,  Sandra L. Duggan, Sandra L. Duggan, Esq., P.C., Arthur
          ________   ________________  ____________________________  ______
          H.  Bryant, Leslie  A. Brueckner,  and Trial  Lawyers  for Public
          __________  ____________________       __________________________
          Justice, P.C. were on brief for appellees.
          _____________
               Deborah L. Brake, with whom Marcia D. Greenberger, Judith C.
               ________________            _____________________  _________
          Appelbaum  and  National Women's  Law  Center were  on  brief for
          _________       _____________________________
          National Women's Law  Center, American Association  of University
          Women/AAUW Legal Advocacy  Fund, American  Civil Liberties  Union
          Women's Rights Project, California Women's Law Center, Center For
          Women Policy  Studies,  Connecticut Women's  Education and  Legal
          Fund, Equal Rights Advocates, Feminist Majority Foundation, Girls
          Incorporated, National Association for  Girls and Women in Sport,
          National Association  for Women in Education,  National Coalition
          for  Sex  Equity in  Education,  National  Commission on  Working
          Women,  National  Council of  Administrative Women  in Education,
          National Education  Association, National Organization  for Women
          Foundation,  Now  Legal  Defense  and  Education  Fund,  National
          Softball  Coaches  Association,  Northwest  Women's  Law  Center,
          Parents  for  Title IX,  Rhode  Island  Affiliate American  Civil
          Liberties  Union,  Women  Employed,  Women's  Basketball  Coaches
          Association, Women's  Law Project,  Women's  Legal Defense  Fund,
          Women's Sports Foundation, and YWCA of the USA, amici curiae.
               Deval L.  Patrick, Assistant Attorney General, Isabelle Katz
               _________________                              _____________
          Pinzler, Deputy Assistant Attorney  General, Dennis J. Dimsey and
          _______                                      ________________
          Lisa W. Edwards, Attorneys,  Department of Justice, on brief  for
          _______________
          the United States, amicus curiae.


                                 ____________________

                                  November 21, 1996
                                 ____________________

















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                      BOWNES,  Senior Circuit  Judge.   This  is a  class
                      BOWNES,  Senior Circuit  Judge.
                               _____________________

            action lawsuit charging Brown University, its  president, and

            its   athletics   director   (collectively    "Brown")   with

            discrimination  against  women   in  the  operation   of  its

            intercollegiate athletics program, in  violation of Title  IX

            of  the Education Amendments of 1972,  20 U.S.C.    1681-1688

            ("Title IX"), and its  implementing regulations, 34 C.F.R.   

            106.1-106.71.    The plaintiff  class comprises  all present,

            future, and  potential  Brown University  women students  who

            participate, seek  to participate, and/or  are deterred  from

            participating in intercollegiate athletics funded by Brown.

                      This suit was initiated in response to the demotion

            in  May 1991  of  Brown's women's  gymnastics and  volleyball

            teams  from university-funded varsity  status to donor-funded

            varsity status.   Contemporaneously, Brown demoted two  men's

            teams, water polo and  golf, from university-funded to donor-

            funded varsity status.  As a consequence  of these demotions,

            all four teams lost,  not only their university funding,  but

            most of the support and privileges that accompany university-

            funded varsity status at Brown.  

                      Prior  to the trial on the merits that gave rise to

            this appeal, the  district court  granted plaintiffs'  motion

            for class  certification  and denied  defendants'  motion  to

            dismiss.    Subsequently,  after  hearing  fourteen  days  of

            testimony,  the district court granted plaintiffs' motion for



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                                         -3-















            a  preliminary  injunction, ordering,  inter  alia,  that the
                                                   _____  ____

            women's gymnastics  and  volleyball teams  be  reinstated  to

            university-funded varsity status,  and prohibiting Brown from

            eliminating or reducing the status or funding of any existing

            women's  intercollegiate varsity  team  until  the  case  was

            resolved on the merits.   Cohen v. Brown Univ., 809  F. Supp.
                                      _____    ___________

            978, 1001 (D.R.I.  1992) ("Cohen I").  A  panel of this court
                                       _______

            affirmed the district court's decision granting a preliminary

            injunction to the plaintiffs.  Cohen v. Brown Univ., 991 F.2d
                                           _____    ___________

            888, 907  (1st Cir.  1993) ("Cohen  II").   In  so doing,  we
                                         _________

            upheld  the  district  court's  analysis and  ruled  that  an

            institution   violates   Title   IX   if   it   ineffectively

            accommodates  its  students'   interests  and  abilities   in

            athletics  under 34 C.F.R.    106.41(c)(1) (1995), regardless

            of its performance with respect to other Title IX areas.  Id.
                                                                      ___

            at 897. 

                      On remand,  the district court  determined after  a

            lengthy  bench trial  that Brown's  intercollegiate athletics

            program  violates Title  IX and  its  supporting regulations.

            Cohen v. Brown  Univ., 879  F. Supp. 185,  214 (D.R.I.  1995)
            _____    ____________

            ("Cohen III").   The district  court ordered Brown  to submit
              _________

            within  120  days a  comprehensive  plan  for complying  with

            Title IX,  but  stayed  that  portion of  the  order  pending

            appeal.   Id.    The  district court  subsequently  issued  a
                      ___

            modified order,  requiring Brown to submit  a compliance plan



                                         -4-
                                         -4-















            within 60 days.  Modified Order of May 4, 1995.   This action

            was taken to ensure  that the Order was "final"  for purposes

            of  this court's  jurisdiction,  and to  expedite the  appeal

            process.  Id.  Finding that Brown's proposed compliance  plan
                      ___

            was not comprehensive and  that it failed to comply  with the

            opinion  and order of Cohen III,  the district court rejected
                                  _________

            the plan and  ordered in its place specific relief consistent

            with  Brown's  stated  objectives  in formulating  the  plan.

            Order of August 17, 1995  at 11.  The court's remedial  order

            required Brown  to elevate and  maintain at university-funded

            varsity status the  women's gymnastics, fencing,  skiing, and

            water polo teams.  Id. at 12.  The  district court's decision
                               ___

            to  fashion specific  relief  was  made,  in part,  to  avoid

            protracted  litigation  over  the   compliance  plan  and  to

            expedite the appeal  on the issue  of liability.  Id.  at 11.
                                                              ___

            The district  court  entered final  judgment on  September 1,

            1995,  and on September  27, 1995, denied  Brown's motion for

            additional  findings of fact and to amend the judgment.  This

            appeal followed.

                      Brown  claims error in  certain evidentiary rulings

            made  during the trial and  in the district  court's order of

            specific relief in place of Brown's proposed compliance plan.

            In addition, and as in  the previous appeal, Brown challenges

            on constitutional and statutory  grounds the test employed by

            the   district   court   in   determining   whether   Brown's



                                         -5-
                                         -5-















            intercollegiate athletics program complies with Title IX.  In

            the  first  appeal, a  panel  of  this  court elucidated  the

            applicable legal  framework, upholding the  substance of  the

            district court's interpretation and application of the law in

            granting  plaintiffs' motion  for a  preliminary injunction,1

            and  rejecting essentially  the  same  legal arguments  Brown

            makes here.

                      Brown contends  that we  are free to  disregard the

            prior  panel's explication of the  law in Cohen  II.  Brown's
                                                      _________

            efforts to circumvent the controlling effect  of Cohen II are
                                                             ________

            unavailing,  however,  because, under  the  law  of the  case

            doctrine,  we are bound in  this appeal, as  was the district

            court on  remand, by the prior panel's rulings of law.  While

            we acknowledge that the  law of the case doctrine  is subject

            to  exceptions, we conclude that none  applies here, and that

            the  decision rendered by the prior panel in the first appeal

            is not,  as Brown claims, "legally  defective."  Accordingly,

            we decline Brown's invitation  to undertake plenary review of

            issues decided in the  previous appeal and treat Cohen  II as
                                                             _________

            controlling authority, dispositive of  the core issues raised

            here.  


                                
            ____________________

            1.  The prior  panel upheld  the district court's  rulings in
            all respects save one.  We held that the district court erred
            in placing upon Brown  the burden of proof under  prong three
            of  the   three-part  test  used  to   determine  whether  an
            intercollegiate athletics  program  complies with  Title  IX,
            discussed infra.  Cohen II, 991 F.2d at 903.  
                      _____   ________

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                                         -6-















                      We find  no error  in the district  court's factual

            findings  or in its interpretation and application of the law

            in determining that Brown violated  Title IX in the operation

            of its  intercollegiate  athletics  program.    We  therefore

            affirm  in all  respects  the district  court's analysis  and

            rulings  on the  issue of  liability.   We do,  however, find

            error in the  district court's award  of specific relief  and

            therefore  remand   the  case  to  the   district  court  for

            reconsideration of the remedy in light of this opinion.

                                          I.
                                          I.

                      The   relevant   facts,   legal   principles,   and

            procedural  history  of this  case  have  been set  forth  in

            exhaustive  detail in  the previous  opinions issued  in this

            case.  Thus, we recite the  facts as supportably found by the

            district court in the course of the bench trial on the merits

            in a somewhat abbreviated fashion. 

                      As  a Division  I  institution within  the National

            Collegiate  Athletic Association ("NCAA") with respect to all

            sports but football, Brown  participates at the highest level

            of NCAA competition.2  Cohen III, 879 F. Supp. at 188.  Brown
                                   _________

            operates a two-tiered  intercollegiate athletics program with

            respect to  funding:   although Brown provides  the financial

            resources required to maintain its  university-funded varsity

                                
            ____________________

            2.  Brown's  football team  competes  in  Division I-AA,  the
            second  highest level of NCAA competition.  Cohen III, 879 F.
                                                        _________
            Supp. at 188 n.4.

                                         -7-
                                         -7-















            teams,  donor-funded varsity  athletes must  themselves raise

            the funds  necessary to  support their teams  through private

            donations.   Id. at 189.   The district court noted  that the
                         ___

            four  demoted  teams  were  eligible  for  NCAA  competition,

            provided  that they were able to raise the funds necessary to

            maintain a sufficient level  of competitiveness, and provided

            that they continued to comply with NCAA requirements.  Id. at
                                                                   ___

            189 n.6.  The  court found, however, that it is difficult for

            donor-funded   varsity  athletes  to   maintain  a  level  of

            competitiveness  commensurate with  their abilities  and that

            these athletes  operate  at  a  competitive  disadvantage  in

            comparison  to university-funded  varsity athletes.    Id. at
                                                                   ___

            189.  For example, the district court found that some schools

            are reluctant to include  donor-funded teams in their varsity

            schedules3 and  that donor-funded teams are  unable to obtain

            varsity-level  coaching,  recruits,  and  funds  for  travel,

            equipment, and post-season competition.  Id. at 189-90. 
                                                     ___

                      Brown's decision  to demote the  women's volleyball

            and  gymnastics teams and the men's water polo and golf teams

            from university-funded varsity status  was apparently made in

            response to a university-wide  cost-cutting directive.  Cohen
                                                                    _____

            I, 809 F. Supp. at 981.  The district court  found that Brown
            _


                                
            ____________________

            3.  Two schools  declined to include Brown  in future varsity
            schedules when women's volleyball was demoted to donor-funded
            status.  Cohen II, 991 F.2d at 892 n.2; Cohen I, 809 F. Supp.
                     ________                       _______
            at 993.

                                         -8-
                                         -8-















            saved $62,028 by  demoting the women's  teams and $15,795  by

            demoting the  men's teams,  but that the  demotions "did  not

            appreciably affect the  athletic participation gender ratio."

            Cohen III at 187 n.2.  
            _________

                      Plaintiffs  alleged   that,  at  the  time  of  the

            demotions,  the men  students  at Brown  already enjoyed  the

            benefits  of a  disproportionately  large share  of both  the

            university  resources   allocated   to  athletics   and   the

            intercollegiate   participation  opportunities   afforded  to

            student athletes.  Thus, plaintiffs contended, what  appeared

            to  be the even-handed demotions of two men's and two women's

            teams, in fact,  perpetuated Brown's discriminatory treatment

            of  women  in  the   administration  of  its  intercollegiate

            athletics program.       In  the  course  of the  preliminary

            injunction  hearing, the  district court  found that,  in the

            academic   year  1990-91,  Brown  funded  31  intercollegiate

            varsity  teams, 16 men's teams and 15 women's teams, Cohen I,
                                                                 _______

            809  F.  Supp. at  980, and  that,  of the  894 undergraduate

            students competing on these  teams, 63.3% (566) were  men and

            36.7% (328) were women, id. at 981.  During the same academic
                                    ___

            year,  Brown's  undergraduate   enrollment  comprised   52.4%

            (2,951) men and 47.6% (2,683) women.  Id.  The district court
                                                  ___

            also summarized  the history of athletics  at Brown, finding,

            inter alia, that, while nearly all of the men's varsity teams
            _____ ____

            were established  before 1927,  virtually all of  the women's



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                                         -9-















            varsity  teams  were created  between  1971  and 1977,  after

            Brown's  merger with Pembroke College.  Id.  The only women's
                                                    ___

            varsity team created  after this period was  winter track, in

            1982.  Id.   
                   ___

                      In  the course  of  the trial  on  the merits,  the

            district  court  found  that,  in  1993-94,  there  were  897

            students participating in intercollegiate  varsity athletics,

            of which 61.87% (555)  were men and 38.13% (342)  were women.

            Cohen  III, 879 F.  Supp. at  192.   During the  same period,
            __________

            Brown's undergraduate enrollment comprised 5,722 students, of

            which  48.86% (2,796) were men and 51.14% (2,926) were women.

            Id.   The  district  court found  that,  in 1993-94,  Brown's
            ___

            intercollegiate athletics  program consisted of 32  teams, 16

            men's teams  and 16 women's teams.   Id.  Of  the university-
                                                 ___

            funded  teams, 12 were men's teams and 13 were women's teams;

            of the donor-funded  teams, three were women's teams and four

            were men's teams.  Id.   At the time of trial,  Brown offered
                               ___

            479  university-funded varsity positions for men, as compared

            to 312 for women;  and 76 donor-funded varsity  positions for

            men, as  compared to 30 for women.   Id. at 211.  In 1993-94,
                                                 ___

            then, Brown's  varsity program -- including  both university-

            and donor-funded  sports -- afforded over  200 more positions

            for  men than  for  women.   Id.  at 192.   Accordingly,  the
                                         ___

            district court found that Brown maintained a 13.01% disparity

            between female participation in intercollegiate athletics and



                                         -10-
                                         -10-















            female student enrollment,  id. at 211, and that  "[a]lthough
                                        ___

            the number of  varsity sports  offered to men  and women  are

            equal,  the  selection  of  sports  offered  to  each  gender

            generates far  more individual  positions  for male  athletes

            than for female athletes," id. at 189. 
                                       ___

                      In  computing  these  figures, the  district  court

            counted  as participants  in  intercollegiate  athletics  for

            purposes of Title IX analysis those athletes who were members

            of  varsity  teams  for the  majority  of  the  last complete

            season.  Id. at 192.  Brown argued at trial that "there is no
                     ___

            consistent measure of actual participation rates because team

            size varies throughout the  athletic season," and that "there

            is  no  consistent  measure  of  actual  participation  rates

            because  there are  alternative definitions  of 'participant'

            that   yield  very   different  participation   totals."  Id.
                                                                      ___

            Reasoning that "[w]here both  the athlete and coach determine

            that  there is a place  on the team for a  student, it is not

            for this  Court to second-guess their judgment and impose its

            own, or anyone  else's, definition of  a valuable or  genuine

            varsity  experience,"  the  district  court   concluded  that

            "[e]very  varsity   team  member   is  therefore   a  varsity

            'participant.'"  Id. (original  emphasis omitted).  Thus, the
                             ___

            district court held that 

                      the "participation opportunities" offered
                      by   an   institution  are   measured  by
                      counting   the  actual   participants  on
                                      ______   ____________
                      intercollegiate  teams.    The number  of


                                         -11-
                                         -11-















                      participants in  Brown's varsity athletic
                      program accurately reflects the number of
                      participation opportunities  Brown offers
                      because   the  University,   through  its
                      practices  "predetermines" the  number of
                      athletic  positions   available  to  each
                      gender.  

            Id. at 202-03. 
            ___

                      The district  court found from  extensive testimony

            that the donor-funded women's gymnastics, women's fencing and

            women's ski teams, as well as at least one women's club team,

            the  water  polo  team,  had demonstrated  the  interest  and

            ability to compete at the top varsity level and would benefit

            from university funding.4  Id. at 190.
                                       ___

                      The  district  court did  not  find  that full  and
                                                ___

            effective   accommodation  of  the  athletics  interests  and

            abilities  of  Brown's  female  students  would  disadvantage

            Brown's male students.

                                         II.
                                         II.

                      Title IX  provides that "[n]o person  in the United

            States  shall,   on  the  basis  of  sex,  be  excluded  from

            participation in, be denied the benefits  of, or be subjected

            to  discrimination under  any education  program or  activity

            receiving  Federal  financial  assistance."   20  U.S.C.A.   


                                
            ____________________

            4.  The district court noted that "there may be other women's
            club sports  with sufficient interest and  ability to warrant
            elevation  to varsity  status," but  that plaintiffs  did not
            introduce  at trial  substantial  evidence demonstrating  the
            existence of  other women's club teams  meeting the criteria.
            Cohen III, 879 F. Supp. at 190 n.14.
            _________

                                         -12-
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            1681(a) (West 1990).  As a  private institution that receives

            federal financial  assistance,  Brown is  required to  comply

            with Title IX.  

                      Title   IX  also  specifies  that  its  prohibition

            against gender  discrimination shall  not "be interpreted  to

            require any educational institution  to grant preferential or

            disparate treatment to the  members of one sex on  account of

            an  imbalance which may  exist" between  the total  number or

            percentage  of  persons  of  that sex  participating  in  any

            federally  supported  program  or  activity,  and  "the total

            number or percentage of persons of that sex in any community,

            State,  section, or other area."  20 U.S.C.A.   1681(b) (West

            1990).  Subsection (b) also provides, however, that it "shall

            not be  construed to prevent the  consideration in any .  . .

            proceeding under this chapter of statistical evidence tending

            to show that  such an  imbalance exists with  respect to  the

            participation  in, or receipt  of the  benefits of,  any such

            program or activity by the members of one sex."  Id.
                                                             ___

                      Applying   1681(b), the prior panel held that Title

            IX "does  not mandate  strict numerical equality  between the

            gender balance of a college's athletic program and the gender

            balance of  its student body."   Cohen  II, 991 F.2d  at 894.
                                             _________

            The panel  explained that,  while evidence of  a gender-based

            disparity in  an institution's athletics  program is relevant

            to a determination of noncompliance, "a court assessing Title



                                         -13-
                                         -13-















            IX compliance may not  find a violation solely  because there
                                                    ______

            is  a   disparity  between  the  gender   composition  of  an

            educational  institution's student  constituency, on  the one

            hand, and its athletic programs, on the other hand."   Id. at
                                                                   ___

            895.      

                      Congress  enacted  Title  IX  in  response  to  its

            finding -- after extensive hearings held in 1970 by the House

            Special   Subcommittee   on   Education   --   of   pervasive

            discrimination  against  women  with respect  to  educational

            opportunities.  118 Cong.  Rec. 5804 (1972) (remarks  of Sen.

            Bayh); North  Haven Bd. of Educ.  v. Bell, 456 U.S.  512, 523
                   _________________________     ____

            n.13 (1982). 

                      Title IX  was passed  with two objectives  in mind:

            "to   avoid  the   use  of   federal  resources   to  support

            discriminatory   practices,"   and  "to   provide  individual

            citizens  effective  protection  against   those  practices."

            Cannon  v. University of  Chicago, 441 U.S.  677, 704 (1979).
            ______     ______________________

            To  accomplish   these  objectives,  Congress   directed  all

            agencies  extending  financial    assistance  to  educational

            institutions to develop procedures for  terminating financial

            assistance to institutions that violate  Title IX.  20 U.S.C.

              1682.

                      The  agency responsible for  administering Title IX

            is the United States Department of Education ("DED"), through





                                         -14-
                                         -14-















            its  Office for  Civil Rights  ("OCR").5   Congress expressly

            delegated to DED the  authority to promulgate regulations for

            determining whether an athletics program complies with  Title

            IX.    Pub.  L.  No.  93-380,  88  Stat.  612  (1974).6   The

            regulations specifically  address athletics  at 34 C.F.R.    

            106.37(c)  and 106.41.  The regulation at issue in this case,

            34 C.F.R.   106.41 (1995), provides:

                           (a) General. No person shall, on the
                               _______
                      basis   of   sex,   be    excluded   from
                      participation in, be denied  the benefits
                      of, be treated  differently from  another
                      person  or   otherwise  be  discriminated
                      against    in     any    interscholastic,
                      intercollegiate,   club   or   intramural
                      athletics  offered by a recipient, and no
                      recipient   shall    provide   any   such
                      athletics separately on such basis.
                           (b) Separate teams.  Notwithstanding
                               ______________
                      the requirements of paragraph (a) of this

                                
            ____________________

            5.  Agency  responsibility for  administration  of  Title  IX
            shifted from the Department  of Health, Education and Welfare
            ("HEW") to DED when HEW split into two agencies,  DED and the
            Department of Health and Human Services.  The regulations and
            agency documents discussed herein were originally promulgated
            by HEW,  the  administering agency  at  the time,  and  later
            adopted by the present administering agency, DED.  See  Cohen
                                                               ___  _____
            II, 991 F.2d at 895; Cohen III, 879 F. Supp. at 194-95 n.23. 
            __                   _________
            For simplicity, we treat DED as the promulgating agency.

            6.   HEW  apparently received an unprecedented 9,700 comments
            on the proposed Title IX athletics regulations, see Haffer v.
                                                            ___ ______
            Temple Univ. of the Commonwealth Sys. of Higher Educ., 524 F.
            _____________________________________________________
            Supp.   531,  536   n.9   (1981)  (citing   Thomas  A.   Cox,
            Intercollegiate Athletics and Title IX, 46 Geo. Wash. L. Rev.
            ______________________________________
            34, 40 (1977) ("Cox")), prompting former HEW Secretary Caspar
            Weinberger to remark, "I  had not realized until the  comment
            period that athletics  is the single most  important thing in
            the  United  States," id.  (citing  Cox at  34,  quoting N.Y.
                                  ___
            Times, June 27, 1975, at 16, col. 4).  



                                         -15-
                                         -15-















                      section,  a  recipient  may   operate  or
                      sponsor  separate  teams  for members  of
                      each sex where selection of such teams is
                      based  upon  competitive  skill   or  the
                      activity  involved  is  a contact  sport.
                      However,  where  a recipient  operates or
                      sponsors a team in a particular sport for
                      members  of  one   sex  but  operates  or
                      sponsors no  such team for members of the
                      other sex, and athletic opportunities for
                      members of that  sex have previously been
                      limited, members of the excluded sex must
                      be   allowed  to  try-out  for  the  team
                      offered  unless the  sport involved  is a
                      contact sport.  For the  purposes of this
                      part,  contact   sports  include  boxing,
                      wrestling,  rugby, ice  hockey, football,
                      basketball and other  sports the  purpose
                      or  major  activity  of   which  involves
                      bodily contact. 
                           c)   Equal Opportunity.  A recipient
                                _________________
                      which      operates      or      sponsors
                      interscholastic, intercollegiate, club or
                      intramural athletics  shall provide equal
                      athletic opportunity for members  of both
                      sexes.    In  determining  whether  equal
                      opportunities are  available the Director
                      will consider, among other factors:
                           (1)  Whether the selection of sports
                      and  levels  of  competition  effectively
                      accommodate  the interests  and abilities
                      of members of both sexes;
                           (2) The provision  of equipment  and
                      supplies; 
                           (3) Scheduling of games and practice
                      time;
                           (4) Travel and per diem allowance;
                           (5) Opportunity  to receive coaching
                      and academic tutoring;
                           (6) Assignment  and compensation for
                      coaches and tutors;
                           (7)   Provision  of   locker  rooms,
                      practice and competitive facilities;
                           (8)   Provision   of   medical   and
                      training facilities and services;
                           (9) Provision of housing  and dining
                      facilities and services;
                           (10) Publicity.




                                         -16-
                                         -16-















                      In  the  first  appeal,   this  court  held  that  an

          institution's failure  effectively  to accommodate  both  genders

          under    106.41(c)(1) is sufficient  to establish a  violation of

          Title IX.  Cohen II, 991 F.2d at 897.  
                     ________

                      In 1978, several years  after the promulgation of the

          regulations,  OCR published  a proposed  "Policy Interpretation,"

          the  purpose of which was  to clarify the  obligations of federal

          aid recipients under Title IX  to provide equal opportunities  in

          athletics  programs.  "In  particular, this Policy Interpretation

          provides a means to  assess an institution's compliance  with the

          equal opportunity  requirements of  the regulation which  are set

          forth  at [34 C.F.R.    106.37(c)  and 106.41(c)]."  44 Fed. Reg.

          at  71,415.  After considering a large number of public comments,

          OCR  published the  final Policy  Interpretation.   44 Fed.  Reg.

          71,413-71,423  (1979).   While  the Policy  Interpretation covers

          other  areas,   this   litigation  focuses   on  the   "Effective

          Accommodation"   section,   which   interprets   34    C.F.R.    

          106.41(c)(1), the first of the non-exhaustive list of ten factors

          to  be   considered  in   determining  whether  equal   athletics

          opportunities  are  available  to   both  genders.    The  Policy

          Interpretation establishes  a three-part  test, a  two-part test,

          and factors  to be considered in determining  compliance under 34

          C.F.R.    106.41(c)(1).  At  issue in this  appeal is  the proper







                                         -17-
                                         -17-















          interpretation of  the first  of these, the  so-called three-part

          test,7 which inquires as follows:

                           (1)  Whether  intercollegiate  level
                      participation opportunities  for male and
                      female students are  provided in  numbers
                      substantially   proportionate  to   their
                      respective enrollments; or
                           (2)  Where  the  members of  one sex
                      have been and are  underrepresented among
                      intercollegiate  athletes,   whether  the
                      institution  can  show   a  history   and
                      continuing practice  of program expansion
                      which is demonstrably  responsive to  the
                      developing interest and abilities  of the
                      members of that sex; or
                           (3)  Where  the  members of  one sex
                      are         underrepresented        among
                      intercollegiate    athletes,   and    the
                      institution  cannot   show  a  continuing
                      practice  of  program  expansion such  as
                      that  cited  above,  whether  it  can  be
                      demonstrated   that  the   interests  and
                      abilities of the members of that sex have
                      been  fully and  effectively accommodated
                      by the present program.

          44 Fed. Reg. at 71,418. 

                      The   district  court   held  that,   "because  Brown

          maintains  a 13.01%  disparity  between female  participation  in

          intercollegiate  athletics  and  female  student  enrollment,  it

          cannot gain  the protection  of prong  one."   Cohen III, 879  F.
                                                         _________

          Supp.  at  211.    Nor  did  Brown  satisfy  prong  two.    While

          acknowledging that  Brown "has  an impressive history  of program
                                                        _______

          expansion,"  the  district  court  found  that  Brown  failed  to


                                
            ____________________

            7.  For clarification, we note  that the cases refer  to each
            part of this three-part  test as a "prong" or  a "benchmark."
            Prong  one is  also  called the  "substantial proportionality
            test." 

                                         -18-
                                         -18-















          demonstrate  that it  has  "maintained a  continuing practice  of
                                                    __________ ________

          intercollegiate program expansion for women, the underrepresented

          sex."  Id.  The court noted further that, because merely reducing
                 ___

          program  offerings  to   the  overrepresented  gender   does  not

          constitute program expansion for the underrepresented gender, the

          fact that  Brown has eliminated  or demoted  several men's  teams

          does not amount to a continuing practice of program expansion for

          women.   Id.   As to prong  three, the district  court found that
                   ___

          Brown had  not "fully  and effectively accommodated  the interest
                          _____

          and ability of the underrepresented sex  'to the extent necessary

          to provide  equal  opportunity in  the  selection of  sports  and

          levels  of competition available to members of both sexes.'"  Id.
                                                                        ___

          (quoting the Policy Interpretation, 44 Fed. Reg. at 71,417).   

                      On January  16, 1996,  DED released  a "Clarification

          Memorandum,"  which does  not change  the existing  standards for

          compliance,  but  which  does  provide  further  information  and

          guidelines for  assessing compliance under  the three-part  test.

          The Clarification Memorandum  contains many examples illustrating

          how institutions may meet  each prong of the three-part  test and

          explains how participation opportunities  are to be counted under

          Title IX.   

                      The district court found that Brown predetermines the

          approximate  number of  varsity  positions available  to men  and

          women,  and, thus, that "the  concept of any  measure of unfilled

          but  available athletic  slots  does not  comport with  reality."



                                         -19-
                                         -19-















          Cohen III,  879  F.  Supp.  at 203  n.36.    The  district  court
          _________

          concluded  that  intercollegiate  athletics opportunities  "means

          real opportunities,  not illusory  ones, and therefore  should be

          measured by counting actual participants."  Id. at 204  (internal
                               ______ ____________    ___

          quotation marks and citations omitted).        

                      Title IX  is an anti-discrimination  statute, modeled

          after Title VI of the Civil Rights Act of 1964, 42 U.S.C.   2000d

          ("Title VI").8   See Cannon,  441 U.S. at  696 ("The drafters  of
                           ___ ______

          Title IX  explicitly assumed  that it  would  be interpreted  and

          applied as Title VI had been during the preceding eight years.").

          Thus, Title  IX  and  Title  VI  share  the  same  constitutional

          underpinnings.   See Jeffrey H. Orleans,  An End To  The Odyssey:
                           ___                      ______________________

          Equal Athletic Opportunities  For Women,  3 Duke J.  Gender L.  &amp;
          _______________________________________

          Pol'y 131, 133-34 (1996).

                      Although the statute itself provides  for no remedies

          beyond the termination  of federal funding, the Supreme Court has

          determined  that  Title  IX  is enforceable  through  an  implied

          private  right of  action,  Cannon, 441  U.S.  at 703,  and  that
                                      ______

          damages  are  available for  an  action brought  under  Title IX,

          Franklin  v. Gwinnett County Pub.  Sch., 503 U.S.  60, 76 (1992).
          ________     __________________________

          The right to  injunctive relief  under Title IX  appears to  have

          been impliedly accepted by the Supreme Court in Franklin.  Id. at
                                                          ________   ___

          64-66, 71-73.  In addition, a majority of the  Court in Guardians
                                                                  _________

                                
            ____________________

            8.  Title VI  prohibits discrimination on the  basis of race,
            color, or  national origin in  institutions benefitting  from
            federal funds.   

                                         -20-
                                         -20-















          Ass'n v. Civil  Serv. Comm'n,  463 U.S. 582  (1983), agreed  that
          _____    ___________________

          injunctive  relief and other  equitable remedies  are appropriate

          for violations of Title VI.    

                      According to the  statute's senate sponsor,  Title IX

          was intended to

                      provide   for   the   women  of   America
                      something that is rightfully theirs -- an
                      equal  chance  to attend  the  schools of
                      their choice, to  develop the skills they
                      want, and to apply those  skills with the
                      knowledge  that they  will  have  a  fair
                      chance to secure the jobs of their choice
                      with equal pay for equal work.

          118  Cong.  Rec.  5808  (1972)  (remarks  of  Sen. Bayh)  (quoted
                                                                     ______

          in Haffer, 524 F. Supp. at 541).
          __ ______

                                         III.
                                         III.

                      In Cohen  II, a panel of this court squarely rejected
                         _________

          Brown's constitutional  and statutory  challenges  to the  Policy

          Interpretation's three-part test, upholding the  district court's

          interpretation   of  the   Title  IX   framework  applicable   to

          intercollegiate athletics, Cohen II, 991 F.2d at 899-902, as well
                                     ________

          as  its grant  of  a  preliminary  injunction  in  favor  of  the

          plaintiffs, id. at  906-07.   Despite the fact  that it  presents
                      ___

          substantially the  same legal  arguments in  this appeal as  were

          raised  and decided in the prior appeal, Brown asserts that there

          is  "no  impediment"  to this  court's  plenary  review  of these

          decided issues.  We disagree.

                      The law  of the case doctrine  precludes relitigation

          of  the legal issues presented  in successive stages  of a single


                                         -21-
                                         -21-















          case once those issues have been decided.  See 1B  James W. Moore
                                                     ___

          et al.,  Moore's  Federal  Practice     0.404[1]  (2d  ed.  1993)

          (hereinafter  "Moore").   "The doctrine  of the  law of  the case

          directs that a decision of an appellate court on an issue of law,

          unless  vacated  or  set  aside, governs  the  issue  during  all

          subsequent  stages of  litigation  in the  nisi  prius court  and
                                                     ____  _____

          thereafter  on any further appeal."  Commercial Union Ins. Co. v.
                                               _________________________

          Walbrook  Ins. Co.,  41 F.3d  764, 769  (1st. Cir.  1994) (citing
          __________________

          United States  v. Rivera-Martinez, 931 F.2d 148 (1st Cir.), cert.
          _____________     _______________                           _____

          denied,  502  U.S. 862  (1991)).  The  reviewing court's  mandate
          ______

          "constitutes the  law of the case  on such issues of  law as were

          actually considered  and decided  by the  appellate court,  or as

          were  necessarily  inferred  from  the  disposition  on  appeal."

          Commercial Union Ins. Co., 41  F.3d at 770 (citing 1B Moore  at  
          _________________________

          0.404[10]).  The  doctrine requires  a trial court  on remand  to

          dispose  of the  case in  accordance with  the  appellate court's

          mandate by implementing "'both  the letter and the spirit  of the

          mandate, taking  into account  the appellate court's  opinion and

          the circumstances it embraces,'" United States v. Connell, 6 F.3d
                                           _____________    _______

          27,  30 (1st Cir. 1993)  (quoting United States  v. Kikumura, 947
                                            _____________     ________

          F.2d 72, 76 (3d  Cir. 1991)), and binds newly  constituted panels

          to prior panel decisions on point, e.g., Irving v. United States,
                                             ____  ______    _____________

          49 F.3d  830, 833-34 (1st  Cir. 1995);  Metcalf &amp;  Eddy, Inc.  v.
                                                  _____________________

          Puerto Rico  Aqueduct and Sewer Auth., 991 F.2d 935, 939 n.3 (1st
          _____________________________________

          Cir. 1993).  



                                         -22-
                                         -22-















                      While we have acknowledged that  there are exceptions

          to the  law of  the case  doctrine, we have  emphasized that  the

          circumstances in which they apply are  rare.  As have a number of

          other circuits, we have determined that issues decided on  appeal

          should  not be  reopened "'unless  the evidence  on a  subsequent

          trial  was  substantially  different, controlling  authority  has

          since  made a contrary decision of law applicable to such issues,

          or the decision was  clearly erroneous and would work  a manifest

          injustice.'"  Rivera-Martinez, 931  F.2d at 151 (quoting White v.
                        _______________                            _____

          Murtha,  377  F.2d 428,  432  (5th Cir.  1967))  (other citations
          ______

          omitted).  

                      Brown's  argument  that  the Supreme  Court's  recent

          decision in Adarand Constr., Inc.  v. Pena, --- U.S. ---,  115 S.
                      _____________________     ____

          Ct.  2097  (1995)  ("Adarand"), controls  this  case  necessarily
                               _______

          presumes that Adarand constitutes a contrary intervening decision
                        _______

          by  controlling  authority  on  point  that  (i)  undermines  the

          validity of Cohen II; (ii)  compels us to depart from the  law of
                      ________

          the case doctrine; and (iii) therefore mandates that we reexamine

          Brown's equal protection claim.  

                      We   have   narrowly   confined    the   "intervening

          controlling authority  exception" to  Supreme Court  opinions, en
                                                                         __

          banc opinions  of this court, or statutory  overrulings.  Irving,
          ____                                                      ______

          49 F.3d  at 834.  We have also recognized that this exception may

          apply "in  those rare situations where  newly emergent authority,

          although   not  directly   controlling,  nevertheless   offers  a



                                         -23-
                                         -23-















          convincing reason for believing that the  earlier panel, in light

          of  the neoteric  developments, would  change  its course."   Id.
                                                                        ___

          (internal quotation marks and citation omitted).

                      The  law of the case doctrine is a prudential rule of

          policy   and  practice,   rather   than  "an   absolute  bar   to

          reconsideration []or  a limitation  on a federal  court's power."

          Rivera-Martinez, 931 F.2d at 150-51.  Thus, we have not construed
          _______________

          the  doctrine  as  "an  inflexible straitjacket  that  invariably

          requires  rigid  compliance."    Northeast Utils.  Serv.  Co.  v.
                                           ____________________________

          Federal  Energy  Regulatory Comm'n,  55 F.3d  686, 688  (1st Cir.
          __________________________________

          1995).   Nevertheless,  the doctrine  serves important  goals and

          must be "treated respectfully and,  in the absence of exceptional

          circumstances, applied according to its tenor."  Rivera-Martinez,
                                                           _______________

          931  F.2d at  151.   Accordingly, we  have held  that only  a few

          exceptional circumstances can  overcome the  interests served  by

          adherence  to  the doctrine  and  these  exceptions are  narrowly

          circumscribed.    See  id.;  see also  United  States  v. Reveron
                            ___  ___   ___ ____  ______________     _______

          Martinez,  836 F.2d 684,  687 n.2 (1st  Cir. 1988) ("To  be sure,
          ________

          there may be occasions  when courts can --  and should --  loosen

          the iron grip of stare decisis.  But  any such departure 'demands
                           _____ _______

          special justification.'")  (quoting Arizona  v. Rumsey,  467 U.S.
                                              _______     ______

          203, 212 (1984)).9   

                                
            ____________________

            9.  The law of the case doctrine is "akin to the doctrines of
            collateral estoppel,  res judicata, and stare decisis,"  Joan
            __________ ________   ___ ________      _____ _______
            Steinman, Law Of The Case: A Judicial Puzzle  In Consolidated
                      _______________  __________________________________
            And Transferred Cases And In MultiDistrict Litigation, 135 U.
            _____________________________________________________
            Penn.  L. Rev.  595, 598-99  (1987) (footnotes  omitted), and

                                         -24-
                                         -24-















                      For  the reasons  that  follow, we  conclude that  no

          exception  to  the law  of the  case  doctrine applies  here and,

          therefore, that Cohen II's rulings of law control the disposition
                          ________

          of this appeal.

                      Brown contends that stare  decisis does not bind this
                                          _____  _______

          panel  "to the previous preliminary ruling  of this Court because

          it lacks the element of finality," Reply Br. at 24,  and that the

          law of the case  doctrine does not prevent a court from "changing

          its mind," id. at n.47.
                     ___

                      We  acknowledge  that we  have  repeatedly emphasized

          that  conclusions and  holdings  regarding the  merits of  issues

          presented  on appeal from a grant of a preliminary injunction are

          to  be understood as statements  as to probable  outcomes.  E.g.,
                                                                      ____

          A.M. Capen's Co. v. American Trading  and Prod. Co., 74 F.3d 317,
          ________________    _______________________________

          322  (1st Cir. 1996); Narragansett Indian  Tribe v. Guilbert, 934
                                __________________________    ________

          F.2d 4,  6 (1st  Cir. 1991).   The concern informing  this caveat

          arises when we are asked  to rule on the propriety of  a district

          court's grant of a  preliminary injunction (or otherwise issue  a

          preliminary ruling) without benefit of full  argument and a well-

                                
            ____________________

            "has been said to lie half  way between stare decisis and res
                                                    _____ _______     ___
            judicata,"  1B Moore  at    0.404[1] n.3  (internal quotation
            ________
            marks  and citation  omitted).   As  applied  in the  federal
            courts today,  the  law of  the  case doctrine  more  closely
            resembles  the  doctrine of  stare decisis.    1B Moore  at  
                                         _____ _______
            0.404[1].   Both  doctrines reflect  concerns that  have long
            been recognized as fundamentally important to the rule of law
            -- e.g., stability, predictability, and respect  for judicial
            authority --  and both doctrines  are applied  "with more  or
            less rigidity depending on which interest is served."  Id. at
                                                                   ___
            II-2.

                                         -25-
                                         -25-















          developed record.  In  this case, however, the record  before the

          prior panel  was "sufficiently developed and  the facts necessary

          to  shape the  proper  legal matrix  [we]re sufficiently  clear,"

          Cohen II, 991 F.2d at 904, and nothing in the record subsequently
          ________

          developed  at trial constitutes  substantially different evidence

          that might undermine the validity of the prior panel's rulings of

          law.    In  considering  plaintiffs'  motion  for  a  preliminary

          injunction  in Cohen I,  the district court  (i) "paid meticulous
                         _______

          attention  to the  parties' prospects  for success over  the long

          haul;" (ii) "plainly visualized  both the factual intricacies and

          legal  complexities that characterize Title IX litigation;" (iii)

          "held a lengthy adversary hearing and reviewed voluminous written

          submissions;"  and  (iv)  "correctly focused  on  the  three-part

          accommodation test."  Cohen II, 991 F.2d at 903.  Further, as the
                                ________

          district  court noted  in  its opinion  after  the trial  on  the

          merits, "[n]othing in  the record before me, now fully developed,

          undermines  the considered  legal  framework established  by  the

          First Circuit at the  preliminary injunction stage."  Cohen  III,
                                                                __________

          879 F. Supp. at 194. 

                      Brown offers remarkably little in the way of analysis

          or authority to support its blithe contention that we are free to

          disregard  Cohen II in disposing  of this appeal.   Indeed, Brown
                     ________

          argues  as if  the  prior  panel  had  not  decided  the  precise

          statutory  interpretation questions  presented (which  it clearly

          did)  and  as if  the  district court's  liability  analysis were



                                         -26-
                                         -26-















          contrary  to the law enunciated in  Cohen II (which it clearly is
                                              ________

          not).   Finding Brown's  bare assertions to  be unpersuasive,  we

          decline the invitation  to this court to "change its  mind."  The

          precedent  established   by  the  prior  panel   is  not  clearly

          erroneous; it  is  the law  of  this case  and  the law  of  this

          circuit. 

                                         IV.
                                         IV.

                      Brown  contends that the  district court misconstrued

          and misapplied  the three-part test.   Specifically, Brown argues

          that the  district court's interpretation and  application of the

          test  is irreconcilable with the statute, the regulation, and the

          agency's interpretation of the law, and effectively renders Title

          IX  an "affirmative  action statute"  that mandates  preferential

          treatment  for women  by  imposing quotas  in  excess of  women's

          relative interests and abilities in athletics.  Brown asserts, in

          the alternative,  that if  the district court  properly construed

          the test, then the  test itself violates Title IX and  the United

          States Constitution.

                      We  emphasize  two  points  at the  outset.    First,

          notwithstanding Brown's persistent invocation of the inflammatory

          terms "affirmative  action," "preference,"  and "quota,"  this is

          not an affirmative action case.  Second, Brown's efforts to evade

          the controlling authority of Cohen II by recasting its core legal
                                       ________

          arguments as challenges to the "district court's  interpretation"

          of the law are unavailing; the primary arguments raised here have



                                         -27-
                                         -27-















          already  been  litigated and  decided adversely  to Brown  in the

          prior appeal.  

                                          A.
                                          A.

                      Brown's   talismanic   incantation  of   "affirmative

          action" has no  legal application to this case and is not helpful

          to Brown's cause.  While "affirmative action" may  have different

          connotations  as a matter  of politics, as  a matter of  law, its

          meaning  is more  circumscribed.   True affirmative  action cases

          have  historically involved a  voluntary10 undertaking  to remedy

          discrimination  (as in  a program  implemented by  a governmental

          body,  or  by a  private employer  or  institution), by  means of

          specific  group-based  preferences  or  numerical  goals,  and  a

          specific timetable  for achieving those goals.   See Adarand, ---
                                                           ___ _______

          U.S.  ---, 115  S. Ct.  2097 (1995)  (remanding for  review under

          strict  scrutiny a challenge to a  federal statute establishing a

          government-wide goal for awarding to minority businesses not less

          than  5%  of  the   total  value  of  all  prime   contracts  and

          subcontracts for  each fiscal  year); Metro Broadcasting  v. FCC,
                                                __________________     ___


                                
            ____________________

            10.  Cases and  commentators sometimes treat  cases involving
            involuntarily  implemented  plans  --  e.g.,   plans  adopted
            pursuant  to a  consent  decree or  a  contempt order  --  as
            affirmative  action  cases.    See, e.g.,  United  States  v.
                                           ___  ____   ______________
            Paradise, 480  U.S. 149  (1987) (upholding  a "one-black-for-
            ________
            one-white"  promotion requirement ordered by a district court
            as an interim measure in response to proven discrimination by
            a  state employer); Sheet Metal Workers v. EEOC, 478 U.S. 421
                                ___________________    ____
            (1986)  (upholding a federal  district court's  imposition on
            the union a goal  for racial minority membership as  a remedy
            for the  union's contempt  of the court's  earlier orders  to
            cease racially discriminatory admissions practices). 

                                         -28-
                                         -28-















          497 U.S. 547 (1990) (upholding a  federal program requiring race-

          based preferences); City of Richmond v. J.A. Croson Co., 488 U.S.
                              ________________    _______________

          469 (1989) (striking down a municipal set-aside program requiring

          that 30% of  the city's  construction dollars be  paid to  racial

          minority  subcontractors   on  an   annual  basis);  Johnson   v.
                                                               _______

          Transportation Agency, 480 U.S. 616 (1986) (upholding a temporary
          _____________________

          program authorizing a county  agency to consider sex and  race as

          factors in making promotions in order to  achieve a statistically

          measurable  improvement  in  the  representation  of   women  and

          minorities in major  job classifications in  which they had  been

          historically underrepresented); Wygant  v. Jackson Bd.  of Educ.,
                                          ______     _____________________

          476  U.S.  267  (1986)  (striking  down  a  collective-bargaining

          faculty  lay-off provision  requiring preferential  treatment for

          certain racial minorities); Fullilove  v. Klutznick, 448 U.S. 448
                                      _________     _________

          (1980)  (upholding a  federal program  requiring state  and local

          recipients of federal  public works  grants to set  aside 10%  of

          funds  for procuring  goods and  services from  minority business

          enterprises); United  Steelworkers v. Weber, 443  U.S. 193 (1979)
                        ____________________    _____

          (upholding a  collective bargaining agreement that  set aside for

          blacks  half the  places  in a  new  training program  until  the

          percentage  of blacks  among  skilled workers  at  the plant  was

          commensurate  with the  percentage of blacks  in the  local labor

          force);  Regents of  the  Univ. of  Cal. v.  Bakke, 438  U.S. 265
                   _______________________________     _____

          (1978) (striking down a  state medical school's admissions policy

          that set aside 16 of its places for racial minorities).



                                         -29-
                                         -29-















                      Title IX is not an affirmative  action statute; it is

          an anti-discrimination statute, modeled explicitly  after another

          anti-discrimination statute, Title VI.  No aspect of the Title IX

          regime at issue  in this case  -- inclusive of  the statute,  the

          relevant  regulation,  and  the  pertinent  agency  documents  --

          mandates   gender-based  preferences   or  quotas,   or  specific

          timetables for implementing numerical goals.  

                      Like other anti-discrimination statutory schemes, the

          Title IX regime permits affirmative action.11  In addition, Title
                          _______

          IX, like other anti-discrimination schemes, permits an  inference

          that   a  significant  gender-based   statistical  disparity  may

          indicate the  existence of  discrimination.  Consistent  with the

          school   desegregation   cases,  the   question   of  substantial

          proportionality under the Policy Interpretation's three-part test

                                
            ____________________

            11.  As previously noted, Title IX itself specifies only that
            the statute shall not  be interpreted to require gender-based
                                                     _______
            preferential or  disparate treatment.   20 U.S.C.    1681(b).
            However, although Congress could easily  have done so, it did
            not ban affirmative action or gender-conscious remedies under
            Title IX.  See also Weber, 443 U.S. at 201-02 (construing the
                       ___ ____ _____
            prohibition  against  race  discrimination  contained  in    
            703(a)  and  (d)  of  Title  VII,  and  concluding  that  "an
            interpretation  of  the  sections  that   forbade  all  race-
            conscious  affirmative   action  would  bring  about  an  end
            completely  at variance with  the purpose of  the statute and
            must be  rejected") (internal  quotation marks  and citations
            omitted); id.  at 205-06 (construing    703(j) of  Title VII,
                      ___
            upon  which   1681(b) of  Title IX was  based, and concluding
            that "[t]he  natural inference is that Congress  chose not to
            forbid all voluntary race-conscious affirmative action").  
                      In   addition,   remedial   action  and   voluntary
            affirmative   action  to  overcome   the  effects  of  gender
            discrimination are permitted under  the Title IX regulations,
            34  C.F.R.   106.3, and by the Policy Interpretation, 44 Fed.
            Reg. at 71,416. 

                                         -30-
                                         -30-















          is  merely  the  starting point  for  analysis,  rather than  the

          conclusion;  a rebuttable presumption,  rather than an inflexible

          requirement.   See, e.g.,  Swann v. Charlotte-Mecklenburg  Bd. of
                         ___  ____   _____    _____________________________

          Educ.,  402 U.S.  1,  25  (1971).    In  short,  the  substantial
          _____

          proportionality  test  is but  one  aspect  of the  inquiry  into

          whether an  institution's athletics  program complies  with Title

          IX.  

                      Also consistent with the school  desegregation cases,

          the  substantial proportionality  test  of prong  one is  applied

          under the Title IX framework, not mechanically, but case-by-case,

          in  a fact-specific  manner.   As with  other anti-discrimination

          regimes, Title  IX neither  mandates a finding  of discrimination

          based solely upon a gender-based statistical disparity, see Cohen
                                                                  ___ _____

          II,  991 F.2d  at  895, nor  prohibits gender-conscious  remedial
          __

          measures.  See Missouri v. Jenkins, --- U.S. ---, ---, 115 S. Ct.
                     ___ ________    _______

          2038,    2048    (1995)    (acknowledging   the    constitutional

          permissibility  of  court-ordered, race-conscious  remedial plans

          designed to  restore victims  of discrimination to  the positions

          they  would  have  occupied  in  the absence  of  such  conduct);

          Fullilove, 448 U.S. at  483 (recognizing that the authority  of a
          _________

          federal  court to  incorporate  racial criteria  into a  remedial

          decree  also  extends to  statutory  violations  and that,  where

          federal  anti-discrimination  laws  have  been   violated,  race-

          conscious remedies  may be appropriate);  Weber, 443 U.S.  at 197
                                                    _____

          (holding that Title  VII does not prohibit private employers from



                                         -31-
                                         -31-















          voluntarily  implementing  race-conscious  measures to  eliminate

          "manifest  racial  imbalances  in  traditionally  segregated  job

          categories");  McDaniel  v.  Barresi,  402  U.S.  39,  41  (1971)
                         ________      _______

          (recognizing that measures required to remedy race discrimination

          "will almost invariably require"  race-conscious classifications,

          and that "[a]ny other  approach would freeze the status  quo that

          is the very target of all desegregation processes").   

                      Another  important distinction between  this case and

          affirmative  action cases  is  that the  district court's  remedy

          requiring  Brown   to  accommodate  fully   and  effectively  the

          athletics  interests and abilities of its women students does not

          raise the concerns underlying  the Supreme Court's requirement of

          a   particularized   factual  predicate   to   justify  voluntary

          affirmative  action   plans.    In  reviewing   equal  protection

          challenges to such plans, the Court is concerned  that government

          bodies are  reaching out  to implement race-  or gender-conscious

          remedial measures that are "ageless in their reach into the past,

          and  timeless in their ability to affect the future," Wygant, 476
                                                                ______

          U.S. at  276, on  the basis  of facts  insufficient to support  a

          prima  facie case  of  a constitutional  or statutory  violation,

          Croson, 488 U.S. at  500, to the benefit of  unidentified victims
          ______

          of past discrimination, see id. at  469; Wygant, 476 U.S. at 276.
                                  ___ ___          ______

          Accordingly,  the Court  has  taken the  position that  voluntary

          affirmative  action plans  cannot  be constitutionally  justified

          absent  a  particularized  factual  predicate  demonstrating  the



                                         -32-
                                         -32-















          existence of "identified discrimination," see Croson, 488 U.S. at
                                                    ___ ______

          500-06, because "[s]ocietal discrimination, without more,  is too

          amorphous  a basis  for imposing  a racially  classified remedy,"

          Wygant, 476 U.S. at 276.    
          ______

                      From a  constitutional standpoint, the case before us

          is  altogether  different.   Here,  gender-conscious  relief  was

          ordered by  an Article  III court, constitutionally  compelled to

          have  before it  litigants with  standing to  raise the  cause of

          action alleged; for the  purpose of providing relief upon  a duly

          adjudicated   determination   that   specific    defendants   had

          discriminated  against a certified class of women in violation of

          a  federal anti-discrimination  statute; based  upon  findings of

          fact  that were  subject to the  Federal Rules of  Evidence.  The

          factual problem  presented in affirmative action  cases is, "Does

          the evidence support a finding of discrimination such  that race-

          or gender-conscious remedial measures  are appropriate?"  We find

          these  multiple  indicia of  reliability  and  specificity to  be

          sufficient to answer that question in the affirmative.

                      From  the  mere fact  that  a remedy  flowing  from a

          judicial determination of discrimination is  gender-conscious, it

          does not follow that the remedy constitutes "affirmative action."

          Nor  does a  "reverse discrimination" claim  arise every  time an

          anti-discrimination statute  is  enforced.   While  some  gender-

          conscious relief may adversely  impact one gender -- a  fact that

          has not  been demonstrated in this  case -- that alone  would not



                                         -33-
                                         -33-















          make the relief "affirmative  action" or the consequence  of that

          relief  "reverse discrimination."    To the  contrary, race-  and

          gender-conscious    remedies    are    both    appropriate    and

          constitutionally permissible under a  federal anti-discrimination

          regime,  although such  remedial  measures are  still subject  to

          equal protection review.  See Miller v. Johnson, --- U.S. ---, --
                                    ___ ______    _______

          -,  115  S. Ct.  2475,  2491  (1995)  ("compliance  with  federal

          antidiscrimination  laws  cannot  justify race-based  districting

          where the challenged district  was not reasonably necessary under

          a constitutional reading and  application of those laws") (citing

          Shaw v. Reno, 509 U.S. 630, 653-54 (1993)).
          ____    ____

                                          B.
                                          B.

                      Cohen  II squarely rejected Brown's interpretation of
                      _________

          the three-part  test and carefully  delineated its own,  which is

          now the law of this circuit as well as the law of this case.   On

          remand,  the district court's  liability analysis  explicitly and

          faithfully adhered to Cohen II's mandate, and  we are bound to do
                                ________

          the  same at  this stage  of  the litigation,  absent one  of the

          exceptional circumstances discussed supra.   Because the  precise
                                              _____

          questions presented  regarding the  proper interpretation  of the

          Title IX framework were considered and decided by a panel of this

          court in the prior appeal, and because no exception to the law of

          the case doctrine is presented, we have no occasion to reopen the

          issue here.   Brown's rehashed statutory  challenge is foreclosed

          by the law of the case doctrine and we are therefore bound by the



                                         -34-
                                         -34-















          prior panel's interpretation of  the statute, the regulation, and

          the relevant agency pronouncements.

                      In  its   liability  analysis,  the   district  court

          expressly accepted Cohen II's  elucidation of the applicable law,
                             ________

          Cohen III, 879 F. Supp. at 194, and applied the law in accordance
          _________

          with its mandate, id. at 210-13.   Indeed, every circuit court to
                            ___

          have reviewed  a Title  IX claim  of discrimination in  athletics

          since  Cohen II was decided is in  accord with its explication of
                 ________

          the Title  IX regime as it  applies to athletics.   See Horner v.
                                                              ___ ______

          Kentucky  High Sch. Athletics Ass'n, 43 F.3d 265 (6th Cir. 1994);
          ___________________________________

          Kelley v. Board  of Trustees, 35 F.3d 265 (7th  Cir. 1994), cert.
          ______    __________________                                _____

          denied, ---  U.S. ---, 115  S. Ct. 938  (1995); Favia  v. Indiana
          ______                                          _____     _______

          Univ. of  Pa., 7  F.3d 332  (3d Cir. 1993);  Roberts v.  Colorado
          _____________                                _______     ________

          State Bd. of Agric., 998 F.2d  824 (10th Cir.), cert. denied, 510
          ___________________                             _____ ______

          U.S. 1004 (1993). 

                      Cohen  II  held  that  the  Policy Interpretation  is
                      _________

          entitled  to substantial  deference because  it is  the enforcing

          agency's "considered interpretation of the regulation."  991 F.2d

          at  896-97.    Brown argues  that  the  district  court erred  in

          concluding that it was obligated to give substantial deference to

          the Policy Interpretation, on the ground that "the interpretation

          is  not a  worthy  candidate for  deference,"  Reply Br.  at  15,

          because  "the urged interpretation  is illogical,  conflicts with

          the  Constitution,  the  Statute,  the  Regulation,  other Agency

          materials and  practices,  existing  analogous  caselaw  and,  in



                                         -35-
                                         -35-















          addition, is bad  policy," id.   We  reject Brown's  kitchen-sink
                                     ___

          characterization  of the Policy  Interpretation and its challenge

          to  the  substantial  deference  accorded that  document  by  the

          district court. 

                      The Policy Interpretation represents  the responsible

          agency's   interpretation   of   the  intercollegiate   athletics

          provisions of Title IX and its implementing regulations.  44 Fed.

          Reg.  at  71,413.   It  is  well  settled that,  where,  as here,

          Congress  has  expressly  delegated to  an  agency  the  power to

          "elucidate a specific provision of a  statute by regulation," the

          resulting  regulations  should  be  accorded  "controlling weight

          unless they are arbitrary,  capricious, or manifestly contrary to

          the statute."   Chevron U.S.A. Inc. v.  Natural Resources Defense
                          ___________________     _________________________

          Council,  Inc., 467  U.S.  837,  844 (1984).    It  is also  well
          ______________

          established   "'that   an  agency's   construction  of   its  own

          regulations is  entitled to  substantial deference.'"   Martin v.
                                                                  ______

          Occupational Safety and Health Review  Comm'n, 499 U.S. 144,  150
          _____________________________________________

          (1991) (quoting Lyng v.  Payne, 476 U.S. 926, 939  (1986)) (other
                          ____     _____

          citation  omitted).     As  the  Supreme   Court  has  explained,

          "[b]ecause applying an agency's regulation to complex or changing

          circumstances  calls  upon  the  agency's  unique  expertise  and

          policymaking    prerogatives,   we   presume   that   the   power

          authoritatively to  interpret its own regulations  is a component

          of the agency's delegated lawmaking powers."  Martin, 499 U.S. at
                                                        ______

          151 (citation omitted). 



                                         -36-
                                         -36-















                      Applying  these  principles, Cohen  II held  that the
                                                   _________

          applicable  regulation, 34 C.F.R.    106.41, deserves controlling

          weight, 991 F.2d at 895;  that the Policy Interpretation warrants

          substantial deference,  id. at  896-97; and that,  "[b]ecause the
                                  ___

          agency's rendition  stands upon  a plausible, if  not inevitable,

          reading of Title IX,  we are obligated to enforce  the regulation

          according  to its tenor," id. at 899 (citations omitted).  Accord
                                    ___                              ______

          Horner,  43 F.3d  at 274-75;  Kelley, 35  F.3d at  270;  Favia v.
          ______                        ______                     _____

          Indiana Univ. of Pa., 812 F.  Supp. 578, 584 (W.D. Pa.), aff'd, 7
          ____________________                                     _____

          F.3d  332 (3d Cir. 1993).  On remand, the district court properly

          applied the legal framework elucidated in Cohen II and explicitly
                                                    ________

          followed this court's mandate  in according controlling weight to

          the   regulation  and   substantial  deference   to  the   Policy

          Interpretation.    Cohen III,  879  F.  Supp. at  197-99;  accord
                             _________                               ______

          Kelley,  35 F.3d at 272 (holding that "neither the regulation nor
          ______

          the  policy interpretation  run afoul  of the  dictates  of Title

          IX").   We hold that the district court did not err in the degree

          of deference it accorded  the regulation and the relevant  agency

          pronouncements.

                                          C.
                                          C.

                      As previously  noted, the  district court  held that,

          for  purposes  of   the  three-part  test,  the   intercollegiate

          athletics  participation opportunities offered  by an institution

          are  properly   measured  by   counting  the  number   of  actual

          participants  on intercollegiate teams.   Cohen III, 879 F. Supp.
                                                    _________



                                         -37-
                                         -37-















          at 202.  The Policy Interpretation  was designed specifically for

          intercollegiate athletics.12 44 Fed. Reg. at 71,413.  Because the

          athletics  regulation  distinguishes   between  club  sports  and

          intercollegiate  sports, under  the Policy  Interpretation, "club

          teams will not  be considered to be  intercollegiate teams except

          in those  instances where  they regularly participate  in varsity

          competition."    Id. at  n.1.   Accordingly,  the  district court
                           ___

          excluded   club   varsity   teams   from    the   definition   of

          "intercollegiate  teams" and, therefore,  from the calculation of

          participation  opportunities, because the evidence was inadequate

          to show  that the  club teams regularly  participated in  varsity

          competition.  Cohen III, 879 F. Supp. at 200.  
                        _________

                      The   district   court's   definition  of   athletics

          participation  opportunities  comports  with  the   agency's  own

          definition.   See Clarification Memorandum at  2 ("In determining
                        ___

          participation opportunities,  OCR  counts the  number  of  actual

          athletes  participating in the  athletic program.").   We find no

          error in the district  court's definition and calculation of  the

          intercollegiate athletics participation opportunities afforded to

          Brown students, and no error  in the court's finding of a  13.01%

          disparity  between  the  percentage  of  women  participating  in


                                
            ____________________

            12.  Application of the Policy Interpretation  is not limited
            to   intercollegiate   athletics,   however.      The  Policy
            Interpretation states that "its general principles will often
            apply  to  club,  intramural,  and  interscholastic  athletic
            programs, which are also covered by the regulation."  44 Fed.
            Reg. at 71,413.

                                         -38-
                                         -38-















          intercollegiate varsity athletics at  Brown and the percentage of

          women in Brown's undergraduate student body.   

                                          D.
                                          D.

                      Brown  contends that  an  athletics  program  equally

          accommodates  both  genders and  complies  with  Title IX  if  it

          accommodates the relative interests and abilities of its male and
                           ________

          female students.  This  "relative interests" approach posits that

          an  institution satisfies prong  three of the  three-part test by

          meeting  the  interests  and  abilities  of the  underrepresented

          gender  only  to  the extent  that  it  meets  the interests  and

          abilities of  the overrepresented  gender.13  See  Cohen II,  991
                                                        ___  ________

          F.2d at 899. 

                      Brown  maintains that  the district  court's decision

          imposes   upon  universities   the   obligation   to  engage   in

          preferential treatment for women by requiring quotas in excess of

          women's relative interests  and abilities.  With respect to prong

          three, Brown asserts that  the district court's interpretation of

          the word  "fully" "requires  universities to favor  women's teams

          and treat  them better than men's  [teams]. . . .  forces them to


                                
            ____________________

            13.  We  note  that  Brown  presses  its  relative  interests
            argument under both  prong one  and prong three.   At  trial,
            Brown  argued  that,  "in  order  to  succeed on  prong  one,
            plaintiffs bear the burden of proving that the percentage  of
            women   among   varsity   athletes   is   not   substantially
            proportionate  to the  percentage  of  women  among  students
                                                                 ________
            interested in  participating  in varsity  athletics."   Cohen
            __________ __  _____________  __ _______  _________     _____
            III,  879 F.  Supp. at  205.   At the  preliminary injunction
            ___
            stage, Brown propounded the same relative interests  argument
            under prong three.  Id. at n.41. 
                                ___

                                         -39-
                                         -39-















          eliminate or cap men's teams.  . . . [and] forces universities to

          impose  athletic  quotas  in  excess of  relative  interests  and

          abilities."  Appellant's Br. at 55.

                      The  prior  panel  considered  and  rejected  Brown's

          approach,  observing that "Brown reads the 'full' out of the duty

          to accommodate 'fully and  effectively.'"  Cohen II, 991  F.2d at
                                                     ________

          899.   Under Cohen  II's controlling interpretation,  prong three
                       _________

          "demands not  merely some  accommodation, but full  and effective

          accommodation.  If there is sufficient interest and ability among

          members of the statistically underrepresented gender, not  slaked

          by existing programs, an institution necessarily fails this prong

          of the test."  Id. at 898.  
                         ___

                      Brown's   interpretation   of   full  and   effective

          accommodation is "simply  not the law."  Cohen III,  879 F. Supp.
                                                   _________

          at 208.   We agree  with the prior  panel and the  district court

          that   Brown's  relative  interests  approach  "cannot  withstand

          scrutiny on either legal  or policy grounds," Cohen II,  991 F.2d
                                                        ________

          at  900,  because  it  "disadvantages women  and  undermines  the

          remedial  purposes  of  Title  IX by  limiting  required  program

          expansion for the underrepresented sex to the status quo level of

          relative interests," Cohen III, 879 F. Supp. at 209.  After Cohen
                               _________                              _____

          II, it cannot be maintained that the relative interests  approach
          __

          is compatible with Title IX's equal accommodation principle as it

          has been interpreted by this circuit.





                                         -40-
                                         -40-















                      Brown argues that the district court's interpretation

          of  the three-part test  requires numerical proportionality, thus
                                   ________

          imposing  a gender-based  quota  scheme in  contravention of  the

          statute.  This argument  rests, in part, upon Brown's  reading of

          20  U.S.C.     1681(b)  as  a  categorical  proscription  against

          consideration of gender parity.  Section 1681(b) provides:

                      Nothing  contained  in subsection  (a) of
                      this  section  shall  be  interpreted  to
                      require  any  educational institution  to
                      grant preferential or disparate treatment
                      to the  members of one sex  on account of
                      an imbalance which may exist with respect
                      to  the total  number  or  percentage  of
                      persons  of that  sex participating in or
                      receiving the benefits  of any  federally
                      supported   program   or   activity,   in
                      comparison  with  the  total   number  or
                      percentage of persons of that sex  in any
                                                         ______
                      community, State, section or other area .
                      _______________________________________
                      . . .

          20 U.S.C.A.   1681(b) (West 1990) (emphasis added).

                      The prior panel, like Brown, assumed without analysis

          that   1681(b) applies unequivocally to intercollegiate athletics

          programs.    We  do not  question  Cohen  II's  application of   
                                             _________

          1681(b).   We  think it important  to bear in  mind, however, the

          congressional  concerns that inform  the proper interpretation of

          this  provision.  Section 1681(b) was patterned after   703(j) of

          Title VII, 42 U.S.C.   2000e-2(j), and  was specifically designed

          to  prohibit quotas  in university  admissions and  hiring, based

          upon  the  percentage   of  individuals  of   one  gender  in   a

          geographical  community.  See H.R.  Rep. No. 554,  92d Cong., 1st
                                    ___

          Sess.  (1971),  reprinted  in  1972  U.S.C.C.A.N.  2462,  2590-92
                          _________  __


                                         -41-
                                         -41-















          (Additional Views);  117 Cong. Rec. 39,261-62  (1971) (remarks of

          Rep. Quie); 117 Cong. Rec. 30,406, 30,409 (remarks of Sen. Bayh);

          117 Cong. Rec. 39,251-52  (remarks of Rep. Mink and  Rep. Green).

          Thus,  the  legislative   history  strongly  suggests   that  the

          underscored language defines what  is proscribed (in the contexts

          of admissions and hiring) in terms of a geographical area, beyond
                                                                     ______

          the  institution, and does not  refer to an  imbalance within the
          ___  ___________                                       ______ ___

          university, with respect to the representation of  each gender in
          __________

          intercollegiate athletics,  as compared  to the gender  makeup of

          the student body.  

                      In  any event, the  three-part test is,  on its face,

          entirely  consistent with    1681(b)  because the  test does  not

          require preferential  or disparate  treatment for  either gender.
          _______

          Neither  the Policy  Interpretation's  three-part  test, nor  the

          district  court's  interpretation  of  it,  mandates  statistical
                                                      ________

          balancing; "[r]ather, the policy interpretation merely  creates a

          presumption that a school is in compliance  with Title IX and the

          applicable   regulation  when  it  achieves  such  a  statistical

          balance."  Kelley, 35 F.3d at 271. 
                     ______

                      The test  is also entirely consistent  with   1681(b)

          as applied  by the  prior panel  and by the  district court.   As

          previously noted, Cohen II expressly held that "a court assessing
                            ________

          Title IX compliance may not find a violation solely because there
                                                       ______

          is  a disparity between the gender  composition of an educational

          institution's  student constituency,  on  the one  hand, and  its



                                         -42-
                                         -42-















          athletic programs, on  the other hand."   991 F.2d  at 895.   The

          panel  then  carefully  delineated  the burden  of  proof,  which

          requires  a  Title IX  plaintiff  to  show, not  only  "disparity

          between the gender composition  of the institution's student body

          and  its  athletic program,  thereby  proving  that there  is  an

          underrepresented gender,"  id. at 901,  but also  "that a  second
                                     ___

          element -- unmet interest  -- is present," id., meaning  that the
                                                     ___

          underrepresented  gender  has  not  been  fully  and  effectively

          accommodated  by the institution's  present athletic program, id.
                                                                        ___

          at 902 (citing 44 Fed. Reg. at 71,418).  Only where the plaintiff

          meets the burden of  proof on these elements and  the institution
                                                       ___

          fails  to show as an affirmative defense a history and continuing

          practice  of program  expansion responsive  to the  interests and

          abilities  of  the  underrepresented  gender  will  liability  be

          established.  Surely this is a far cry from a one-step imposition

          of a gender-based quota.  

                      Brown simply ignores the fact that it  is required to

          accommodate  fully   the   interests   and   abilities   of   the

          underrepresented gender, not because the three-part test mandates

          preferential treatment for women ab initio, but because Brown has
                                           __ ______

          been  found (under  prong one)  to have  allocated its  athletics

          participation opportunities so as to create a significant gender-

          based  disparity with  respect  to these  opportunities, and  has

          failed  (under  prong  two)  to  show  a  history and  continuing

          practice of expansion  of opportunities for  the underrepresented



                                         -43-
                                         -43-















          gender.   Brown's interpretation  conflates prongs one  and three

          and distorts the three-part  test by reducing it to  an abstract,

          mechanical determination of strict numerical proportionality.  In

          short,  Brown treats the three-part test for compliance as a one-

          part test for strict liability. 

                      Brown  also  fails  to   recognize  that  Title  IX's

          remedial  focus is,  quite properly,  not on  the overrepresented

          gender, but on the underrepresented gender; in  this case, women.

          Title IX and its  implementing regulations protect the class  for

          whose special benefit the  statute was enacted.  See  Cannon, 441
                                                           ___  ______

          U.S. at 694.   It is women and not men  who have historically and

          who continue to be underrepresented in sports, not only at Brown,

          but  at universities nationwide.  See Williams v. School Dist. of
                                            ___ ________    _______________

          Bethlehem,  Pa.,  998  F.2d  168,  175  (1993)  (observing  that,
          _______________

          although Title IX and  its regulations apply equally to  boys and

          girls,  "it would require blinders  to ignore that the motivation

          for promulgation of the regulation on athletics  was the historic

          emphasis on  boys' athletic programs  to the exclusion  of girls'

          athletic programs in  high schools as  well as colleges"),  cert.
                                                                      _____

          denied, 510 U.S. 1043 (1994). 
          ______

                      The  prior  panel  held  that "[t]he  fact  that  the

          overrepresented gender is less  than fully accommodated will not,

          in  and of  itself,  excuse  a  shortfall  in  the  provision  of

          opportunities for  the underrepresented  gender."  Cohen  II, 991
                                                             _________

          F.2d   at  899.    Instead,  the  law  requires  that,  absent  a



                                         -44-
                                         -44-















          demonstration   of   continuing   program   expansion   for   the

          underrepresented gender  under prong two of  the three-part test,

          an  institution must  either  provide athletics  opportunities in

          proportion to the gender composition of the student body so as to

          satisfy  prong  one,  or  fully  accommodate  the  interests  and

          abilities of athletes of  the underrepresented gender under prong

          three.  Id.  In other words,
                  ___

                      If  a  school,  like  Brown,  eschews the
                      first two benchmarks of the accommodation
                      test, electing to stray  from substantial
                      proportionality  and   failing  to  march
                      uninterruptedly in the direction of equal
                      athletic opportunity, it must comply with
                      the third  benchmark.    To  do  so,  the
                      school   must   fully   and   effectively
                      accommodate the underrepresented gender's
                      interests  and  abilities,  even if  that
                      requires it to give  the underrepresented
                      gender (in this case, women) what amounts
                      to   a  larger   slice  of   a  shrinking
                      athletic-opportunity pie.

          Id. at 906.
          ___

                      We think it clear that neither the Title IX framework

          nor the district court's interpretation of it mandates a  gender-

          based  quota scheme.    In  our  view,  it  is  Brown's  relative

          interests  approach  to  the  three-part test,  rather  than  the

          district  court's interpretation,  that contravenes  the language

          and purpose of the test and of  the statute itself.  To adopt the

          relative interests  approach would be, not only to overrule Cohen
                                                                      _____

          II, but to rewrite  the enforcing agency's interpretation  of its
          __

          own  regulation  so  as  to  incorporate  an  entirely  different

          standard  for  Title  IX  compliance.   This  relative  interests


                                         -45-
                                         -45-















          standard would entrench  and fix by  law the significant  gender-

          based disparity in athletics  opportunities found by the district

          court to exist at Brown, a finding we have held to be not clearly

          erroneous.      According    to   Brown's   relative    interests

          interpretation of  the equal accommodation principle, the gender-

          based disparity in athletics participation opportunities at Brown

          is due to a lack  of interest on the part of its female students,

          rather than  to  discrimination, and  any attempt  to remedy  the

          disparity is, by definition, an unlawful quota.  This approach is

          entirely contrary to "Congress's unmistakably clear mandate  that

          educational institutions  not use  federal  monies to  perpetuate

          gender-based discrimination," id. at  907, and makes it virtually
                                        ___

          impossible  to  effectuate  Congress's intent  to  eliminate  sex

          discrimination in intercollegiate athletics.

                                          E.
                                          E.

                      Brown  also  claims  error  in  the district  court's

          failure to apply Title  VII standards to its analysis  of whether

          Brown's intercollegiate athletics program complies with Title IX.

          The  district  court rejected  the analogy  to Title  VII, noting

          that, while Title VII  "seeks to determine whether gender-neutral

          job openings have  been filled without regard  to gender[,] Title

          IX  . . . was designed to  address the reality that sports teams,

          unlike  the  vast  majority  of jobs,  do  have  official  gender
                                                 __

          requirements, and this statute accordingly approaches the concept





                                         -46-
                                         -46-















          of discrimination differently from Title VII."  Cohen III, 879 F.
                                                          _________

          Supp. at 205.  

                      It does not follow  from the fact that    1681(b) was

          patterned after a  Title VII provision  that Title VII  standards

          should   be  applied  to  a  Title  IX  analysis  of  whether  an

          intercollegiate  athletics  program  equally   accommodates  both

          genders,  as Brown contends.   While this court  has approved the

          importation  of Title VII  standards into  Title IX  analysis, we

          have explicitly limited the  crossover to the employment context.

          See  Cohen II, 991 F.2d  at 902 (citing  Lipsett v. University of
          ___  ________                            _______    _____________

          P.R., 864 F.2d 881, 897  (1st Cir. 1988)); but see Brown  v. Hot,
          ____                                       ___ ___ _____     ____

          Sexy and  Safer Prods., Inc.,  68 F.3d 525,  540 (1st  Cir. 1995)
          ____________________________

          (Title VII sexual harassment standards applied to Title IX sexual

          harassment  case in  non-employment context),  cert. denied,  ---
                                                         _____ ______

          U.S. ---, 116 S. Ct. 1044 (1996).  

                      As Cohen  II recognized, "[t]he scope  and purpose of
                         _________

          Title   IX,  which   merely   conditions  government   grants  to

          educational institutions, are  substantially different from those

          of Title VII, which  sets basic employment standards."   991 F.2d

          at 902  (citation  omitted).   "[W]hereas  Title VII  is  largely

          peremptory,"  Title IX  is  "largely aspirational,"  and thus,  a

          "loosely laced buskin."   Id.; see also North Haven,  456 U.S. at
                                    ___  ___ ____ ___________

          521  (directing that Title IX must  be accorded "a sweep as broad

          as its language").  





                                         -47-
                                         -47-















                      It is imperative to recognize that athletics presents

          a  distinctly different situation  from admissions and employment

          and  requires a  different  analysis in  order  to determine  the

          existence vel non of  discrimination.  While the Title  IX regime
                    ___ ___

          permits institutions to maintain gender-segregated teams, the law
          _______

          does  not require  that  student-athletes attending  institutions

          receiving federal funds must  compete on gender-segregated teams;

          nor  does the  law require  that institutions  provide completely

          gender-integrated athletics programs.14  To the extent that Title

          IX allows  institutions to maintain single-sex  teams and gender-


                                
            ____________________

            14.  See  34 C.F.R.    106.41(b)  (1995) ("[A]  recipient may
                 ___                                                  ___
            operate or  sponsor separate  teams for  members of  each sex
            where  selection for  such  teams is  based upon  competitive
            skill  or  the  activity   involved  is  a  contact  sport.")
            (emphasis   added).     Nor   do   the  regulations   require
                                                                  _______
            institutions to field gender-integrated teams: 
              
                      However,  where  a recipient  operates or
                      sponsors a team in a particular sport for
                      members   of  one  sex  but  operates  or
                      sponsors no such team for members  of the
                      other sex, and athletic opportunities for
                      members  of that sex have previously been
                      limited, members of the excluded sex must
                      be  allowed  to  try-out  for   the  team
                      offered  unless the  sport involved  is a
                      contact sport.

            Id. 
            ___

                      Whether  or not  the institution  maintains gender-
            segregated teams, it  must provide "gender-blind  equality of
            opportunity to its student body."  Cohen II, 991 F.2d at 896.
                                               ________
            While this case presents  only the example of members  of the
            underrepresented   gender   seeking   the    opportunity   to
            participate  on single-sex  teams,  the  same analysis  would
            apply  where members  of  the underrepresented  gender sought
            opportunities to play on co-ed teams.

                                         -48-
                                         -48-















          segregated  athletics  programs, men  and  women  do not  compete

          against  each other for places on team rosters.  Accordingly, and

          notwithstanding Brown's protestations to the contrary, the  Title

          VII concept  of the "qualified pool"  has no place in  a Title IX

          analysis  of equal  opportunities  for male  and female  athletes

          because women  are not "qualified"  to compete  for positions  on

          men's  teams,  and vice-versa.    In  addition,  the  concept  of

          "preference"  does not have the  same meaning, or  raise the same

          equality concerns,  as it does  in the employment  and admissions

          contexts.

                      Brown's approach  fails  to recognize  that,  because

          gender-segregated teams are the norm in intercollegiate athletics

          programs,  athletics differs  from admissions  and employment  in

          analytically material  ways.  In providing  for gender-segregated

          teams,  intercollegiate  athletics programs  necessarily allocate
                                                       ___________

          opportunities separately for male and female students, and, thus,

          any  inquiry into a  claim of gender  discrimination must compare
                                                               ____

          the athletics participation  opportunities provided for  men with

          those  provided  for  women.    For   this  reason,  and  because

          recruitment  of interested athletes  is at the  discretion of the

          institution, there  is a risk  that the institution  will recruit

          only enough women  to fill  positions in a  program that  already

          underrepresents women, and  that the smaller size  of the women's

          program   will   have   the   effect   of   discouraging  women's

          participation. 



                                         -49-
                                         -49-















                      In this  unique context, Title IX  operates to ensure

          that the gender-segregated allocation of  athletics opportunities

          does  not disadvantage either gender.  Rather than create a quota

          or  preference,  this  unavoidably   gender-conscious  comparison

          merely  provides for  the allocation  of athletics  resources and

          participation  opportunities   between  the   sexes  in   a  non-

          discriminatory  manner.     As  the  Seventh   Circuit  observed,

          "Congress itself  recognized  that addressing  discrimination  in

          athletics  presented a unique set of problems not raised in areas

          such  as employment  and  academics."   Kelley,  35 F.3d  at  270
                                                  ______

          (citing  Sex  Discrimination  Regulations,  Hearings  Before  the
                   ________________________________________________________

          Subcommittee  on Post  Secondary  Education of  the Committee  on
          _________________________________________________________________

          Education and Labor, 94th Cong.,  1st Sess. at 46, 54,  125, 129,
          ___________________

          152, 177, 299-300  (1975); 118 Cong. Rec.  5807 (1972) (statement

          of Sen. Bayh); 117 Cong. Rec. 30,407 (1971) (same)).

                      In   contrast  to   the  employment   and  admissions

          contexts, in the athletics context,  gender is not an  irrelevant

          characteristic.   Courts and institutions  must have some  way of

          determining whether  an institution complies with  the mandate of

          Title  IX  and  its   supporting  regulations  to  provide  equal

          athletics opportunities  for both genders, despite  the fact that

          the  institution  maintains single-sex  teams,  and  some way  of

          fashioning  a remedy  upon a  determination that  the institution

          does not  equally and  effectively accommodate the  interests and

          abilities of both  genders.  As the Kelley Court  pointed out (in
                                              ______



                                         -50-
                                         -50-















          the context of analyzing the deference due the relevant athletics

          regulation and the Policy Interpretation):

                      Undoubtedly  the  agency responsible  for
                      enforcement  of  the  statute could  have
                      required  schools  to  sponsor a  women's
                      program for every  men's program  offered
                      and  vice  versa.  .   .  .  It  was  not
                      unreasonable, however, for the  agency to
                      reject this course  of action.  Requiring
                      parallel  teams is a  rigid approach that
                      denies schools the flexibility to respond
                      to  the  differing athletic  interests of
                      men   and  women.     It   was  perfectly
                      acceptable, therefore, for the  agency to
                      chart  a different  course  and adopt  an
                      enforcement    scheme    that    measures
                      compliance  by analyzing how a school has
                      allocated its various athletic resources.

          Kelley, 35 F.3d at 271 (footnotes omitted).
          ______

                      Each prong of the Policy  Interpretation's three-part

          test determines compliance in this manner.

                      Measuring    compliance    through     an
                      evaluation  of  a school's  allocation of
                      its  athletic  resources  allows  schools
                      flexibility   in  meeting   the  athletic
                      interests of their students and increases
                      the  chance that the  actual interests of
                      those  students  will  be met.    And  if
                      compliance  with   Title  IX  is   to  be
                      measured through this  sort of  analysis,
                      it  is only  practical  that  schools  be
                      given  some clear  way to  establish that
                      they have satisfied  the requirements  of
                      the    statute.        The    substantial
                      proportionality contained  in Benchmark 1
                      merely establishes such a safe harbor.  

          Id. (citations omitted).
          ___

                      We find no error  in the district court's  refusal to

          apply Title  VII standards  in its inquiry  into whether  Brown's

          intercollegiate athletics  program complies  with Title IX.   See
                                                                        ___


                                         -51-
                                         -51-















          Cohen  II, 991  F.2d at 901  ("[T]here is  no need  to search for
          _________

          analogies where,  as  in the  Title  IX milieu,  the  controlling

          statutes  and regulations  are clear.").   We  conclude that  the

          district  court's application  of  the three-part  test does  not

          create a gender-based quota  and is consistent with Title  IX, 34

          C.F.R.    106.41, the Policy  Interpretation, and the  mandate of

          Cohen II. 
          ________

                                          F.
                                          F.

                      Brown has  contended throughout this  litigation that

          the significant disparity in  athletics opportunities for men and

          women  at Brown is the  result of a  gender-based differential in

          the level of  interest in  sports and that  the district  court's

          application  of  the  three-part test  requires  universities  to

          provide  athletics  opportunities for  women  to  an extent  that

          exceeds their relative interests and abilities in sports.   Thus,

          at the heart  of this litigation is the question whether Title IX

          permits  Brown to deny  its female students  equal opportunity to

          participate in sports, based upon its unproven assertion that the

          district court's finding of  a significant disparity in athletics

          opportunities  for   male  and  female  students   reflects,  not

          discrimination in Brown's  intercollegiate athletics program, but

          a lack of  interest on the  part of its  female students that  is

          unrelated to a lack of opportunities.  

                      We  view   Brown's  argument  that   women  are  less

          interested   than   men  in   participating   in  intercollegiate



                                         -52-
                                         -52-















          athletics, as well as its conclusion  that institutions should be

          required to accommodate the interests and abilities of its female

          students only  to the extent  that it accommodates  the interests

          and abilities of  its male  students, with great  suspicion.   To

          assert  that  Title  IX  permits institutions  to  provide  fewer

          athletics  participation opportunities  for women  than for  men,

          based upon the premise  that women are less interested  in sports

          than are men,  is (among  other things) to  ignore the fact  that

          Title  IX was  enacted  in order  to  remedy discrimination  that

          results  from  stereotyped  notions  of  women's  interests   and

          abilities.  

                      Interest and ability rarely develop in a vacuum; they

          evolve as a function  of opportunity and experience.   The Policy

          Interpretation   recognizes   that   women's   lower    rate   of

          participation in athletics  reflects women's  historical lack  of

          opportunities  to participate  in sports.   See  44 Fed.  Reg. at
                                                      ___

          71,419 ("Participation in intercollegiate sports has historically

          been   emphasized  for  men  but  not  women.    Partially  as  a

          consequence of this, participation  rates of women are  far below

          those of men.").

                      Moreover, the Supreme  Court has repeatedly condemned

          gender-based  discrimination  based upon  "archaic  and overbroad

          generalizations" about  women.  Schlesinger v.  Ballard, 419 U.S.
                                          ___________     _______

          498,  508  (1975).   See, e.g.,  Mississippi  Univ. for  Women v.
                               ___  ____   _____________________________

          Hogan,  458 U.S. 718, 725  (1982); Califano v.  Webster, 430 U.S.
          _____                              ________     _______



                                         -53-
                                         -53-















          313, 317 (1977);  Frontiero v. Richardson,  411 U.S. 677,  684-86
                            _________    __________

          (1973).   The  Court has been  especially critical of  the use of

          statistical evidence offered  to prove generalized, stereotypical

          notions  about men  and  women.   For  example, in  holding  that

          Oklahoma's  3.2% beer  statute invidiously  discriminated against

          males 18-20 years  of age, the Court in Craig  v. Boren, 429 U.S.
                                                  _____     _____

          190, 208-209  (1976), stressed  that "the principles  embodied in

          the Equal Protection Clause are  not to be rendered  inapplicable

          by  statistically measured but  loose-fitting generalities."  See
                                                                        ___

          also id.  at  202  ("statistics  exhibit  a  variety  of  .  .  .
          ____ ___

          shortcomings   that  seriously   impugn  their  value   to  equal

          protection analysis");  id. at  204 ("proving broad  sociological
                                  ___

          propositions by statistics  is a dubious  business, and one  that

          inevitably  is  in tension  with  the  normative philosophy  that

          underlies the Equal Protection Clause"); Cannon, 441 U.S.  at 681
                                                   ______

          n.2 (observing with respect to the relevance of the University of

          Chicago's  statistical evidence  regarding  the small  number  of

          female applicants  to its medical  school, in comparison  to male

          applicants, that  "the dampening impact of  a discriminatory rule

          may  undermine  the  relevance  of  figures  relating  to  actual
                                                                     ______

          applicants").

                      Thus,  there  exists  the  danger that,  rather  than

          providing  a   true  measure  of  women's   interest  in  sports,

          statistical  evidence  purporting  to  reflect  women's  interest

          instead  provides only a measure  of the very discrimination that



                                         -54-
                                         -54-















          is and  has been the  basis for  women's lack  of opportunity  to

          participate in  sports.    Prong  three  requires  some  kind  of

          evidence of  interest in  athletics, and  the Title  IX framework

          permits the use of statistical evidence in assessing the level of

          interest  in sports.15   Nevertheless,  to allow  a numbers-based

                                
            ____________________

            15.  Under the Policy Interpretation,
             
                      Institutions  may determine  the athletic
                      interests  and  abilities of  students by
                      nondiscriminatory   methods    of   their
                      choosing provided:
                                a. The processes take into
                           account      the     nationally
                           increasing  levels  of  women's
                           interests and abilities;
                                b.    The    methods    of
                           determining     interest    and
                           ability do not disadvantage the
                           members of  an underrepresented
                           sex;
                                c.    The    methods    of
                           determining  ability take  into
                           account     team    performance
                           records; and
                                d.    The   methods    are
                           responsive  to  the   expressed
                           interests  of students  capable
                           of  intercollegiate competition
                           who    are   members    of   an
                           underrepresented sex.

            44 Fed. Reg. at 71,417.

                      The   1990  version  of   the  Title  IX  Athletics
            Investigator's Manual, an internal agency document, instructs
            investigating   officials  to   consider,  inter   alia,  the
                                                       _____   ____
            following: (i)  any institutional  surveys or  assessments of
            students' athletics interests  and abilities, see  Valerie M.
                                                          ___
            Bonnette &amp;  Lamar Daniel,  Department of Education,  Title IX
            Athletics  Investigator's  Manual  at  22  (1990);  (ii)  the
            "expressed interests" of the underrepresented gender,  id. at
                                                                   ___
            25;  (iii)   other  programs  indicative  of   interests  and
            abilities,  such  as  club  and  intramural  sports,   sports
            programs at  "feeder" schools, community and  regional sports

                                         -55-
                                         -55-















          lack-of-interest  defense  to become  the  instrument  of further

          discrimination against the underrepresented gender  would pervert

          the remedial purpose  of Title IX.  We conclude  that, even if it

          can be empirically demonstrated that, at a particular time, women

          have less interest in sports than do men, such evidence, standing

          alone, cannot justify providing fewer athletics opportunities for

          women than  for men.   Furthermore,  such evidence is  completely

          irrelevant where, as here,  viable and successful women's varsity

          teams have been demoted or eliminated.  We emphasize that, on the

          facts of this case, Brown's lack-of-interest  arguments are of no

          consequence.  As  the prior panel recognized, while  the question

          of full  and effective  accommodation of athletics  interests and

          abilities  is potentially  a complicated  issue where  plaintiffs

          seek to create a new team or to elevate to  varsity status a team

          that  has never competed at the varsity level, no such difficulty


                                
            ____________________

            programs, and physical education classes, id.  
                                                      ___
                      As the  district court  noted, however,  the agency
            characterizes  surveys as  a  "simple way  to identify  which
            additional sports  might appropriately be created  to achieve
            compliance. . . . Thus, a survey of interests would  follow a
                                                                 ______
            determination  that  an institution  does  not  satisfy prong
            three; it would not be utilized to make that determination in
            the first  instance."  Cohen III,  897 F. Supp. at  210 n.51;
                                   _________
            see  1990  Investigator's Manual  at  27  (explaining that  a
            ___
            survey  or  assessment  of  interests and  abilities  is  not
            required   by  the   Title  IX   regulation  or   the  Policy
            Interpretation but may be  required as part of a  remedy when
            OCR has concluded that  an institution's current program does
            not   equally  effectively  accommodate   the  interests  and
            abilities of students).  (We  note that the text of the  1990
            Investigator's Manual cited herein  at page 25 was apparently
            at  page 27  of the  copy of the  Manual before  the district
            court.)  

                                         -56-
                                         -56-















          is presented here, where  plaintiffs seek to reinstate  what were

          successful university-funded teams right  up until the moment the

          teams were demoted.16  Cohen II,  991 F.2d at 904; see also Cohen
                                 ________                    ___ ____ _____

          I,  809  F.  Supp.   at  992  ("Brown  is  cutting   off  varsity
          _

          opportunities where there is great interest and talent, and where
                                                                  ___

          Brown still  has  an  imbalance  between men  and  women  varsity

          athletes in relation to their undergraduate enrollments.").  

                      On these facts, Brown's failure  to accommodate fully

          and   effectively   the   interests   and   abilities    of   the

          underrepresented    gender   is   clearly   established.      See
                                                                        ___

          Clarification Memorandum  at 8  ("If an institution  has recently

          eliminated a  viable team  from the intercollegiate  program, OCR

          will  find  that  there  is  sufficient  interest,  ability,  and

          available competition to sustain  an intercollegiate team in that

          sport  unless an  institution  can provide  strong evidence  that

          interest,  ability or available  competition no longer exists.");

          id. at 8-9  n.2 ("While  [other] indications of  interest may  be
          ___

          helpful  to  OCR  in  ascertaining  likely  interest  on  campus,

          particularly  in  the  absence   of  more  direct  indicia[,]  an

                                
            ____________________

            16.  The district  court  found that  the women's  gymnastics
            team had won the Ivy League championship in 1989-90 and was a
            "thriving university-funded  varsity team prior  to the  1991
            demotion;"  that the  donor-funded women's  fencing team  had
            been successful for  many years  and that its  request to  be
            upgraded  to  varsity  status   had  been  supported  by  the
            athletics director at the time; that the donor-funded women's
            ski team  had been consistently competitive  despite a meager
            budget; and that the club-status women's water polo  team had
            demonstrated  the interest  and  ability to  compete at  full
            varsity status.  Cohen III, 879 F. Supp. at 190. 
                             _________

                                         -57-
                                         -57-















          institution  is  expected  to   meet  the  actual  interests  and

          abilities  of its students and admitted students.").  Under these

          circumstances,  the  district  court's  finding  that  there  are

          interested women able to compete at the university-funded varsity

          level,  Cohen III,  879  F. Supp.  at  212, is  clearly  correct.
                  _________

                      Finally,   the   tremendous    growth   in    women's

          participation  in sports  since  Title IX  was enacted  disproves

          Brown's  argument that women  are less  interested in  sports for

          reasons  unrelated to lack of opportunity.  See, e.g., Mike Tharp
                                                      ___  ____

          et al., Sports  crazy! Ready, set,  go.  Why  we love our  games,
                  ________________________________________________________

          U.S. News &amp; World Report, July 15, 1996, at 33-34 (attributing to

          Title IX the explosive growth  of women's participation in sports

          and the  debunking of  "the  traditional myth  that women  aren't

          interested in sports").

                      Brown's   relative  interests   approach  is   not  a

          reasonable interpretation of the  three-part test.  This approach

          contravenes the purpose of the statute and the regulation because

          it does not permit an institution or a district court to remedy a

          gender-based disparity in athletics  participation opportunities.

          Instead,  this approach  freezes that  disparity by  law, thereby

          disadvantaging further the underrepresented gender.  Had Congress

          intended  to entrench, rather than change, the status quo -- with

          its  historical emphasis on  men's participation opportunities to

          the detriment of women's  opportunities -- it need not  have gone

          to all the trouble of enacting Title IX.



                                         -58-
                                         -58-















                                          V.
                                          V.

                      In the  first  appeal, this  court  rejected  Brown's

          Fifth  Amendment  equal  protection  challenge  to  the statutory

          scheme.  Cohen II, 991 F.2d at 900-901.  Here,  Brown argues that
                   ________

          its challenge is to the decision of the district court.  As Brown

          puts  it, "[t]he  [equal  protection] violation  arises from  the

          court's holding that  Title IX requires the imposition of quotas,

          preferential treatment, and disparate treatment in the absence of

          a compelling state interest and a determination that the remedial

          measure is 'narrowly  tailored' to serve  that interest."   Reply

          Br. at 18 (citing Adarand, --- U.S. at ---, 115 S. Ct. at 2117).
                            _______

                                          A.
                                          A.

                      To   the   extent    that   Brown   challenges    the

          constitutionality of  the statutory scheme itself,  the challenge

          rests  upon  at  least  two erroneous  assumptions:  first,  that

          Adarand is controlling  authority on point  that compels us,  not
          _______

          only to consider Brown's  constitutional challenge anew, but also

          to  apply  strict  scrutiny to  the  analysis;  second,  that the

          district court's application of the law in its liability analysis

          on remand  is inconsistent  with the interpretation  expounded in

          the prior appeal.   We reject both premises.17   Brown's implicit

                                
            ____________________

            17.  We assume,  without deciding, that Brown  has not waived
            its equal  protection claim  and has  standing  to raise  it.
            Appellees argue that  this claim is waived  because Brown did
            not  raise it in  the district court.   Appellee's  Br. at 55
            (citing  Desjardins v.  Van Buren  Community Hosp.,  969 F.2d
                     __________     __________________________
            1280, 1282 (1st Cir.  1992)).  Appellees also argue  that, to
            the  extent that the equal  protection claim is viable, Brown

                                         -59-
                                         -59-















          reliance on Adarand as contrary intervening controlling authority
                      _______

          that warrants  a departure from the  law of the  case doctrine is

          misplaced  because, while Adarand does  make new law,  the law it
                                    _______

          makes  is wholly  irrelevant to the  disposition of  this appeal,

          and, even  if Adarand did apply, it does not mandate the level of
                        _______

          scrutiny to be applied to gender-conscious government action.

                      In  rejecting Brown's  equal  protection  claim,  the

          Cohen  II  panel stated,  "It is  clear  that Congress  has broad
          _________

          powers under the Fifth  Amendment to remedy past discrimination."

          991   F.2d  at  901.     The  panel  cited   as  authority  Metro
                                                                      _____

          Broadcasting,  497  U.S.  at  565-66 (for  the  proposition  that
          ____________

          "Congress need  not make  specific findings of  discrimination to

          grant race-conscious relief"), and  Califano v. Webster, 430 U.S.
                                              ________    _______

          at 317 (noting  that Webster  upheld a social  security wage  law
                               _______

          that  benefitted women  "in  part because  its  purpose was  'the

          permissible   one  of   redressing  our   society's  longstanding

          disparate treatment of women'").  Cohen II, 991 F.2d at 901.  The
                                            ________

          panel  also noted that, in spite of the scant legislative history

          regarding Title IX as  it applies to athletics, Congress  heard a

          great deal of testimony regarding discrimination against women in

          higher  education  and  acted  to  reverse  the  Supreme  Court's

          decision  in Grove  City College  v. Bell,  465 U.S.  555, 573-74
                       ___________________     ____


                                
            ____________________

            lacks standing to  raise it.   Appellee's Br.  at 56  (citing
            Powers  v. Ohio,  499  U.S. 400,  111  S. Ct.  1364,  1370-71
            ______     ____
            (1991)).   Given  our disposition  of this  claim, we  do not
            address these arguments.  

                                         -60-
                                         -60-















          (1984)  (holding that  Title IX  was "program-specific"  and thus

          applied only  to those university programs  that actually receive

          federal  funds and  not  to the  rest  of the  university),  with

          athletics prominently in mind.  Cohen II, 991 F.2d at 901.   
                                          ________

                      In Metro Broadcasting, the Court upheld two federally
                         __________________

          mandated  race-based  preference   policies  under   intermediate

          scrutiny.  497 U.S. at 564-65 (holding that benign race-conscious

          measures  mandated by Congress  "are constitutionally permissible

          to the  extent that they serve  important governmental objectives

          within the power  of Congress  and are  substantially related  to

          achievement of those objectives").   The Metro Broadcasting Court
                                                   __________________

          applied intermediate scrutiny,  notwithstanding that the previous

          year,  in Croson, 488 U.S. 469, the Court applied strict scrutiny
                    ______

          in striking down a municipal  minority set-aside program for city

          construction   contracts.      The   Metro   Broadcasting   Court
                                               ____________________

          distinguished  Croson,  noting  that  "[i]n  fact,  much  of  the
                         ______

          language  and  reasoning  in  Croson  reaffirmed  the  lesson  of
                                        ______

          Fullilove18  that  race-conscious   classifications  adopted   by
          _________

          Congress to address racial  and ethnic discrimination are subject

                                
            ____________________

            18.  In  Fullilove,  a  plurality  of  the  Court  applied  a
                     _________
            standard   subsequently   acknowledged  to   be  intermediate
            scrutiny,  see  Metro  Broadcasting,  497  U.S.  at  564,  in
                       ___  ___________________
            upholding   against  a   Fifth  Amendment   equal  protection
            challenge a benign race-based affirmative action program that
            was  adopted by  an  agency  at  the  explicit  direction  of
            Congress.    The  Fullilove plurality  inquired  "whether the
                              _________
            objectives  of  th[e] legislation  are  within  the power  of
            __________
            Congress[]" and "whether the limited use of racial and ethnic
            criteria  . . .  is a constitutionally  permissible means for
                                                                _____
            achieving the congressional objectives."  448 U.S. at 473. 

                                         -61-
                                         -61-















          to a  different standard than such  classifications prescribed by

          state and local governments."    Metro Broadcasting, 497  U.S. at
                                           __________________

          565.

                      Adarand  overruled Metro  Broadcasting to  the extent
                      _______            ___________________

          that Metro  Broadcasting is  inconsistent with Adarand's  holding
               ___________________                       _______

          that "all  racial classifications,  imposed by  whatever federal,

          state, or local government actor, must be analyzed by a reviewing

          court  under strict scrutiny."  Adarand, ---  U.S. at ---, 115 S.
                                          _______

          Ct. at  2113.   Brown impliedly  assumes  that Adarand's  partial
                                                         _______

          overruling of  Metro Broadcasting invalidates  the prior  panel's
                         __________________

          disposition of  Brown's equal  protection challenge by  virtue of

          its passing citation  to Metro Broadcasting.   This assumption is
                                   __________________

          erroneous because the proposition for which Cohen II cited  Metro
                                                      ________        _____

          Broadcasting as authority has not been vitiated by Adarand, is of
          ____________                                       _______

          no  consequence to our disposition  of the issues  raised in this

          litigation, and is, in any event, unchallenged here.19  

                                          B.
                                          B.

                      The  prior  panel  rejected Brown's  Fifth  Amendment

          equal  protection20 and  "affirmative action"  challenges  to the

                                
            ____________________

            19.  Cohen   II  cited  Metro   Broadcasting  for  a  general
                 __________         ____________________
            principle  regarding  Congress's   broad  powers  to   remedy
            discrimination,  a  proposition  that  was  not  reached   by
            Adarand.  Moreover, Webster, which Cohen II  cited along with
            _______             _______        ________
            Metro Broadcasting, was not overruled or in any way  rendered
            __________________
            suspect by Adarand.     
                       _______

            20.  It  is  well  settled  that  the   reach  of  the  equal
            protection  guarantee  of  the Fifth  Amendment  Due  Process
            Clause  -- the basis for Brown's equal protection claim -- is
            coextensive  with  that  of the  Fourteenth  Amendment  Equal

                                         -62-
                                         -62-















          statutory  scheme.   Cohen  II,  991  F.2d  at  901  (finding  no
                               _________

          constitutional infirmity, assuming arguendo, that  the regulation
                                             ________

          creates a classification somewhat  in favor of women).   Thus, to

          the  extent that  Brown challenges  the statutory  scheme itself,

          that  challenge is foreclosed under the law of the case doctrine.

          Nevertheless, the  remedy ordered for  a violation  of a  federal

          anti-discrimination statute is still  subject to equal protection

          review, assuming that it constitutes  gender-conscious government

          action.   See  Miller,  --- U.S.  at  ---, 115  S.  Ct. at  2491.
                    ___  ______

          Therefore,  we  review  the  constitutionality  of  the  district

          court's  order  requiring  Brown  to  comply  with  Title  IX  by

          accommodating fully and effectively  the athletics interests  and

          abilities  of  its  women   students.    Because  the  challenged

          classification  is gender-based,  it must  be analyzed  under the

          intermediate scrutiny  test.  Before proceeding  to the analysis,

          however, we must  first address Brown's challenge to the standard

          of review.  

                      Brown concedes that  Adarand "does not,  in partially
                                           _______

          overruling Metro  Broadcasting, set forth the  proper standard of
                     ___________________

          review for this  case."   Appellant's Br. at  29.   Nevertheless,

          Brown asserts  that "[w]hile Adarand  is a case  involving racial
                                       _______

          classification,   its  analysis   clearly   applies   to   gender

          classification as  well."  Id.  at 27.   Further, inappropriately
                                     ___

                                
            ____________________

            Protection Clause.  E.g., United States v. Paradise, 480 U.S.
                                ____  _____________    ________
            at  166 n.16; Weinberger v. Wiesenfeld, 420 U.S. 636, 638 n.2
                          __________    __________
            (1975). 

                                         -63-
                                         -63-















          relying on Frontiero,  411 U.S.  677, and Croson,  488 U.S.  469,
                     _________                      ______

          Brown concludes  that  strict scrutiny  applies  to  gender-based

          classifications.21   Appellant's Br. at  29; Reply Br.  at 19-20.

          These conclusory assertions do  not comport with the law  in this

          circuit.

                      First, as explained earlier, Adarand and Croson apply
                                                   _______     ______

          to  review of legislative affirmative  action schemes.  This case

          presents  the issue of the legality of a federal district court's

          determination, based  upon adjudicated  findings of fact,  that a

          federal anti-discrimination statute has been violated, and of the

                                
            ____________________

            21.  In Frontiero,  a plurality  of the Court  concluded that
                    _________
            gender-based  classifications,  "like  classifications  based
            upon  race,  alienage,  or  national origin,  are  inherently
            suspect, and  must therefore be subjected  to strict judicial
            scrutiny."  411 U.S. at 688.  In the 23 years that have since
            elapsed, this  position has never commanded a majority of the
            Court,  and has never been  adopted by this  court.  Whatever
            may be the merits of adopting strict scrutiny as the standard
            to  be  applied   to  gender-based  classifications,   it  is
            inappropriate  to  suggest,  as  Brown does,  that  Frontiero
                                                                _________
            compels its application here.  
                       Brown's  assertion  that  Adarand  obligates  this
                                                 _______
            court to apply Croson  to its equal protection claim  is also
                           ______
            incorrect.   As  noted previously,  Croson is  an affirmative
                                                ______
            action  case and  does  not  control  review  of  a  judicial
            determination that a federal anti-discrimination  statute has
            been  violated.  To the extent that Brown assumes that Croson
                                                                   ______
            governs the issue of the sufficiency of the factual predicate
            required  to uphold  a  federally mandated,  benign race-  or
            gender-based   classification,   that   assumption  is   also
            unfounded.   As we have explained,  Croson's factual concerns
                                                ______
            are  not  raised  by  a  district  court's  determination  --
            predicated  upon  duly adjudicated  factual  findings bearing
            multiple indicia of reliability  and specificity -- of gender
            discrimination in  violation of a  federal statute.   We also
            point  out that  Adarand did  not reach  the question  of the
                             _______
            sufficiency  of the  factual  predicate  required to  satisfy
            strict scrutiny  review of a  congressionally mandated  race-
            based classification.  

                                         -64-
                                         -64-















          statutory  and  constitutional propriety  of the  judicial remedy

          ordered to provide  redress to plaintiffs with standing  who have

          been injured by the violation. 

                      Second,   Adarand  does   not  even   discuss  gender
                                _______

          discrimination, and  its holding  is limited to  explicitly race-

          based classifications.  --- U.S. at ---, 115  S. Ct. at 2113.  It

          can  hardly be assumed that the Court intended to include gender-
                         _______

          based classifications within  Adarand's precedential scope or  to
                                        _______

          elevate, sub silentio, the level  of scrutiny to be applied by  a
                   ___ ________

          reviewing court to such classifications.

                      Third, even if Adarand did apply, it does not dictate
                                     _______

          the  level of  scrutiny  to be  applied  in this  case, as  Brown

          concedes.    For the  last twenty  years,  the Supreme  Court has

          applied  intermediate   scrutiny  to  all  cases   raising  equal

          protection challenges to gender-based  classifications, including

          the  Supreme  Court's  most  recent  gender discrimination  case,

          United States v. Virginia,  --- U.S. ---, 116 S. Ct.  2264 (1996)
          _____________    ________

          ("Virginia"); see id. at 2288 (Rehnquist, C.J., concurring in the
            ________    ___ ___

          judgment) (collecting cases).22

                                
            ____________________

            22.  We  point out that Virginia adds nothing to the analysis
                                    ________
            of    equal    protection    challenges    to    gender-based
            classifications that has not been part of that analysis since
            1979, long before Cohen  II was decided.  While  the Virginia
                              _________                          ________
            Court made liberal use  of the phrase "exceedingly persuasive
            justification,"   and   sparse   use   of   the   formulation
            "substantially   related   to   an   important   governmental
            objective,"  the Court nevertheless  struck down  the gender-
            based  admissions   policy  at  issue  in   that  case  under
            intermediate scrutiny, --- U.S.  at ---, 116 S. Ct.  at 2271,
            2275;  id.  at  2288  (Rehnquist,  C.J.,  concurring  in  the
                   ___

                                         -65-
                                         -65-















                      Fourth, it is important to recognize that controlling

          authority  does  not  distinguish  between  invidious and  benign

          discrimination in the context of gender-based classifications, as

          it  has in the context  of racial classifications.   Neither this

          court nor the  Supreme Court  has drawn this  distinction in  the

          context  of gender  discrimination  claims or  held  that a  less

          stringent standard applies in cases involving benign, rather than

          invidious, gender discrimination.   See Hogan, 458 U.S. at  724 &amp;
                                              ___ _____

          n.9  (reviewing benign  gender-conscious admissions  policy under

          intermediate scrutiny and recognizing  that the analysis does not

          change with the objective  of the classification); accord Wygant,
                                                             ______ ______

          476 U.S. at 273.  Thus, the analytical result would be same, even

          if this were an affirmative action case.

                      Under   intermediate   scrutiny,   the    burden   of

          demonstrating  an  exceedingly  persuasive  justification  for  a

          government-imposed,  gender-conscious  classification  is met  by

          showing that  the  classification serves  important  governmental

          objectives, and that the means employed are substantially related


                                
            ____________________

            judgment),    the    standard    applied   to    gender-based
            classifications since  1976, when  it was first  announced in
            Craig v. Boren, 429 U.S. at 197, and the test applied in both
            _____    _____
            Metro Broadcasting and Webster.  
            __________________     _______
                      The  phrase "exceedingly  persuasive justification"
            has been employed routinely by the Supreme Court in  applying
            intermediate scrutiny to gender discrimination claims and is,
            in  effect a  short-hand expression  of  the well-established
            test.    See Personnel  Adm'r v.  Feeney,  442 U.S.  256, 273
                     ___ ________________     ______
            (1979);  Kirchberg v.  Feenstra,  450 U.S.  455, 461  (1981);
                     _________     ________
            Hogan, 458 U.S. at  724; J.E.B. v. Alabama ex  rel. T.B., 511
            _____                    ______    _____________________
            U.S. 127, 136-37 (1994).   

                                         -66-
                                         -66-















          to the achievement of those objectives.  E.g., Hogan, 458 U.S. at
                                                   ____  _____

          724.  Applying that test,  it is clear that the  district court's

          remedial order passes constitutional muster. 

                      We find that the first part of the test is satisfied.

          The  governmental objectives  of "avoid[ing]  the use  of federal

          resources to support  discriminatory practices," and "provid[ing]

          individual   citizens   effective   protection    against   those

          practices,"  Cannon,  441  U.S.  at 704,  are  clearly  important
                       ______

          objectives.   We also find  that judicial enforcement  of federal

          anti-discrimination   statutes   is   at   least   an   important

          governmental objective. 

                      Applying  the   second  prong  of   the  intermediate

          scrutiny  test, we find that  the means employed  by the district

          court  in  fashioning  relief  for the  statutory  violation  are

          clearly  substantially  related  to these  important  objectives.

          Intermediate scrutiny does not require that there be no other way

          to accomplish the objectives, but even if that were the standard,

          it  would be  satisfied in  the unique  context presented  by the

          application of Title IX to athletics.  

                      As explained  previously, Title  IX as it  applies to

          athletics is  distinct from other anti-discrimination  regimes in

          that  it is  impossible to  determine compliance  or to  devise a

          remedy  without counting and  comparing opportunities with gender

          explicitly in mind.   Even under the individual rights  theory of

          equal  protection, reaffirmed in Adarand, --- U.S. at ---, 115 S.
                                           _______



                                         -67-
                                         -67-















          Ct. at 2112 (the  equal protection guarantee "protect[s] persons,

          not groups"),  the only way to determine whether the rights of an

          individual  athlete  have  been   violated  and  what  relief  is

          necessary to remedy the  violation is to engage in  an explicitly

          gender-conscious comparison.  Accordingly, even assuming that the

          three-part  test  creates  a gender  classification  that  favors

          women, allowing consideration of gender in determining the remedy

          for  a  Title  IX  violation serves  the  important  objective of

          "ensur[ing]   that   in    instances   where   overall   athletic

          opportunities decrease, the actual opportunities available to the

          underrepresented gender  do not."   Kelley, 35  F.3d at 272.   In
                                              ______

          addition, a gender-conscious  remedial scheme is constitutionally

          permissible  if  it  directly   protects  the  interests  of  the

          disproportionately burdened gender.   See Hogan, 458  U.S. at 728
                                                ___ _____

          ("In   limited   circumstances,  a   gender-based  classification

          favoring  one  sex can  be  justified  if  it  intentionally  and

          directly assists  members of  the sex that  is disproportionately

          burdened.").

                      Under  Brown's interpretation of the three-part test,

          there can never be a  remedy for a violation of Title  IX's equal

          opportunity  mandate.   In concluding  that the  district court's

          interpretation and  application of the three-part  test creates a

          quota,  Brown errs, in part,  because it fails  to recognize that

          (i) the substantial proportionality test of prong one is only the

          starting point, and not the conclusion, of the analysis; and (ii)



                                         -68-
                                         -68-















          prong  three is  not implicated  unless a  gender-based disparity

          with  respect to athletics  participation opportunities  has been

          shown to exist.  Where such a disparity has been established, the

          inquiry under prong three is whether the athletics interests  and

          abilities   of  the   underrepresented  gender   are   fully  and

          effectively accommodated, such that  the institution may be found

          to comply with Title IX, notwithstanding the disparity.23  

                      Of course,  a remedy that requires  an institution to

          cut, add, or elevate the  status of athletes or entire teams  may

          impact the genders differently, but this will be so only if there

          is   a   gender-based  disparity   with   respect  to   athletics

          opportunities to  begin with, which  is the only  circumstance in

          which  prong three  comes into play.   Here, however,  it has not

          been shown that Brown's men students will be disadvantaged by the

          full and  effective accommodation of the  athletics interests and

          abilities of its women students.

                                         VI.
                                         VI.

                      Brown assigns error to the district court's exclusion

          of  certain  evidence  pertaining   to  the  relative   athletics

          interests of  men  and women.    Reviewing the  district  court's

                                
            ____________________

            23.  Under  the three-part  test,  the institution  may  also
            excuse the disparity under prong  two, by showing a  "history
            and   continuing  practice  of  program  expansion  which  is
            demonstrably  responsive  to   the  developing  interest  and
            abilities of the [underrepresented  gender]," 44 Fed. Reg. at
            71,418,  in which  case the  compliance inquiry  ends without
            reaching  prong three.    It has  been determined  that Brown
            cannot avail itself of  this defense.  See Cohen  III, 879 F.
                                                   ___ __________
            Supp. at 211. 

                                         -69-
                                         -69-















          evidentiary rulings for  abuse of  discretion, see  Sinai v.  New
                                                         ___  _____     ___

          England Tel. and Tel. Co., 3 F.3d 471, 475 (1st Cir. 1993), cert.
          _________________________                                   _____

          denied, --- U.S.  ---, 115 S. Ct. 597 (1994), we find none.  
          ______

                      Brown first contends that  the court erred in barring

          cross-examination of plaintiffs' expert Dr. Sabor on the issue of

          why  girls drop out of  sports before reaching  college.  Because

          Dr. Sabor's direct testimony  did not address this issue,  it was

          within the district court's discretion to limit cross-examination

          "to the subject matter of the direct examination."  Fed. R. Evid.

          611(b); see Ferragama v. Chubb Life Ins. Co. of Am.,  94 F.3d 26,
                  ___ _________    __________________________

          28 (1st Cir. 1996).  

                      Brown  also   suggests  that  the   district  court's

          exclusion of statistical  and survey data  offered in support  of

          its relative interests argument  constitutes error.  Although the

          district court  excluded as full  exhibits two studies,  the NCAA

          Gender Equity Study and  the results of an undergraduate  poll on

          student interest in athletics, it nevertheless permitted  Brown's

          experts to rely  on the data contained in these  two reports as a

          basis  for  their expert  opinions.24    Because Brown's  experts


                                
            ____________________

            24.  Brown  also contends  that the  district court  erred in
            excluding the NCAA Annual Report.   Appellant's Br. at 56-57.
            Brown merely asserts, however, that the "study was admissible
            under Rule 803," id. at  57, and offers no explanation  as to
                             ___
            how it was prejudiced by the exclusion.  Accordingly, we deem
            the argument waived.  Ryan v. Royal Ins. Co. of Am., 916 F.2d
                                  ____    _____________________
            731, 734 (1st Cir. 1990) ("It is settled in this circuit that
            issues  adverted  to  on  appeal  in  a  perfunctory  manner,
            unaccompanied by some developed argumentation, are deemed  to
            have been abandoned.") (citations omitted).   

                                         -70-
                                         -70-















          relied  upon the excluded data in providing their opinions on the

          issue  of  a gender-based  differential  in  student interest  in

          athletics,  the evidence  was before  the trier  of fact  and any

          error was, therefore, harmless.  See McDonough Power Equip., Inc.
                                           ___ ____________________________

          v.  Greenwood, 464  U.S. 548,  553 (1984)  (instructing appellate
              _________

          courts  to  "ignore  errors  that  do  not  affect the  essential

          fairness of the trial").  

                                         VII.
                                         VII.

                      It  does   not   follow  from   our   statutory   and

          constitutional  analyses that  we  endorse the  district  court's

          remedial order.   Although we decline Brown's invitation  to find

          that the district court's  remedy was an abuse of  discretion, we

          do find that  the district  court erred in  substituting its  own

          specific  relief  in  place of  Brown's  statutorily  permissible

          proposal to comply  with Title  IX by cutting  men's teams  until

          substantial proportionality was achieved.

                      In Cohen II we stated that it  is "established beyond
                         ________

          peradventure  that,  where   no  contrary  legislative  directive

          appears, the federal judiciary  possesses the power to  grant any
                                                                        ___

          appropriate  relief on  a cause  of action  appropriately brought

          pursuant  to a  federal  statute."    991  F.2d  at  901  (citing

          Franklin,  503 U.S. at 70-71).   We also  observed, however, that
          ________

          "[w]e  are   a  society  that  cherishes   academic  freedom  and

          recognizes  that  universities  deserve  great  leeway  in  their

          operations."  991  F.2d at 906 (citing Wynne v.  Tufts Univ. Sch.
                                                 _____     ________________



                                         -71-
                                         -71-















          of Med.,  976 F.2d 791,  795 (1st Cir.  1992), cert.  denied, 507
          _______                                        _____  ______

          U.S. 1030 (1993); Lamphere v. Brown Univ., 875 F.2d 916, 922 (1st
                            ________    ___________

          Cir.  1989)).   Nevertheless,  we have  recognized that  academic

          freedom does not embrace the freedom to discriminate.  Villanueva
                                                                 __________

          v.  Wellesley  College,  930  F.2d   124,  129  (1st  Cir.  1991)
              __________________

          (citations omitted).

                      The district court itself  pointed out that Brown may

          achieve compliance with Title IX in a number of ways:

                      It  may  eliminate  its athletic  program
                      altogether, it may elevate or  create the
                      requisite number of women's positions, it
                      may  demote  or  eliminate the  requisite
                      number  of  men's  positions,  or  it may
                      implement   a    combination   of   these
                      remedies.  I leave it entirely to Brown's
                      discretion to decide how it  will balance
                      its    program     to    provide    equal
                      opportunities  for  its  men   and  women
                      athletes.    I  recognize  the  financial
                      constraints Brown faces; however, its own
                      priorities will necessarily determine the
                      path to compliance it elects to take.

          Cohen III, 879 F. Supp.  at 214; see also  Cohen II, 991 F.2d  at
          _________                        ___ ____  ________

          898  n.15 (noting that a school may achieve compliance with Title

          IX by "reducing opportunities for the overrepresented gender").

                      With  these precepts  in mind,  we first  examine the

          compliance plan Brown submitted to the district court in response

          to  its order.    We then  consider  the district  court's  order

          rejecting  Brown's plan  and the  specific relief ordered  by the

          court in its place.

                      Brown's proposed  compliance plan stated its  goal as

          follows:


                                         -72-
                                         -72-















                      The  plan  has one  goal:    to make  the
                      gender   ratio  among   University-funded
                      teams     at      Brown     substantially
                      proportionate  to the gender ratio of the
                      undergraduate  student body.   To  do so,
                      the   University   must   disregard   the
                      expressed   athletic  interests   of  one
                      gender  while  providing  advantages  for
                      others.     The  plan   focuses  only  on
                                  _____________________________
                      University-funded  sports,  ignoring  the
                      _________________________________________
                      long  history of  successful donor-funded
                      _________________________________________
                      student teams.
                      _____________

          Brown's Plan at 1 (emphasis added).

                      In its introduction, Brown makes clear that it "would

          prefer  to  maintain  its  current program"  and  that  the  plan

          submitted

                      is  inconsistent with  Brown's philosophy
                      to the  extent that it  grants advantages
                      and  enforces disadvantages  upon student
                      athletes solely because  of their  gender
                      and curbs the historic role of coaches in
                      determining the number of  athletes which
                      can   be   provided  an   opportunity  to
                      participate.         Nevertheless,    the
                      University  wishes to  act in  good faith
                      with    the    order   of    the   Court,
                      notwithstanding  issues  of fact  and law
                      which are currently in dispute.

          Id. at 2.  
          ___

                      Brown states that it  "seeks to address the  issue of

          proportionality  while  minimizing  additional  undue  stress  on

          already strained physical and fiscal resources."  Id.
                                                            ___

                      The general provisions of  the plan may be summarized

          as  follows: (i) Maximum squad sizes  for men's teams will be set

          and enforced.  (ii) Head  coaches of all teams must  field squads

          that  meet  minimum  size  requirements.    (iii)  No  additional



                                         -73-
                                         -73-















          discretionary  funds will be used  for athletics.   (iv) Four new

          women's junior varsity teams -- basketball, lacrosse, soccer, and

          tennis  --  will  be  university-funded.   (v)  Brown  will  make

          explicit a de facto junior varsity team for women's field hockey.
                     __ _____

          Id. at 3-4.  
          ___

                      The   plan   sets   forth    nine   steps   for   its

          implementation,  id. at  4-5, and  concludes that  "if  the Court
                           ___

          determines   that  this   plan   is  not   sufficient  to   reach

          proportionality, phase two will be the elimination of one or more

          men's teams," id. at 5.
                        ___

                      The district court found  Brown's plan to be "fatally

          flawed" for two reasons.  First, despite the fact that 76 men and

          30  women participated  on  donor-funded  varsity teams,  Brown's

          proposed  plan disregarded  donor-funded varsity  teams. District

          Court Order  at 5-6.   Second, Brown's plan  "artificially boosts

          women's  varsity numbers  by adding  junior varsity  positions on

          four women's teams."   Id. at 6.  As to the  propriety of Brown's
                                 ___

          proposal  to  come  into compliance  by  the  addition  of junior

          varsity positions, the district court held:

                      Positions  on   distinct  junior  varsity
                      squads do not qualify as "intercollegiate
                      competition"   opportunities  under   the
                      Policy Interpretation and  should not  be
                      included in defendants'  plan.  As  noted
                      in   Cohen,   879   F.  Supp.   at   200,
                           _____
                      "intercollegiate"  teams  are those  that
                      "regularly    participate    in   varsity
                      competition."  See 44 Fed. Reg. at 71,413
                                     ___
                      n.1.      Junior   varsity   squads,   by
                      definition, do not  meet this  criterion.
                      Counting   new  women's   junior  varsity


                                         -74-
                                         -74-















                      positions  as  equivalent  to men's  full
                      varsity positions flagrantly violates the
                      spirit  and letter  of Title  IX;   in no
                      sense is an  institution providing  equal
                      opportunity   if   it   affords   varsity
                      positions  to  men  but   junior  varsity
                      positions to women.  

          District Court Order at 6 (footnote omitted).

                      The district court found that these two flaws  in the

          proposed plan were sufficient to show that Brown had "not made  a

          good  faith effort to comply with this  Court's mandate."  Id. at
                                                                     ___

          8.          In criticizing  another  facet of  Brown's plan,  the

          district court pointed out that

                      [a]n institution does  not provide  equal
                      opportunity  if it  caps its  men's teams
                      after  they  are well-stocked  with high-
                      caliber recruits  while requiring women's
                      teams to boost numbers by accepting walk-
                      ons.   A  university  does not  treat its
                      men's and  women's  teams equally  if  it
                      allows  the coaches of men's teams to set
                      their  own  maximum  capacity limits  but
                      overrides  the  judgment  of  coaches  of
                      women's teams on the same matter.

          Id. at 8-9.
          ___

                      After rejecting Brown's proposed plan, but bearing in

          mind Brown's stated objectives,  the district court fashioned its

          own remedy:

                      I  have  concluded  that  Brown's  stated
                      objectives  will  be  best  served  if  I
                      design  a remedy to meet the requirements
                      of prong three rather than prong one.  In
                      order to bring Brown into compliance with
                      prong one under  defendants' Phase II,  I
                      would have  to order Brown  to cut enough
                      men's  teams  to eradicate  approximately
                      213  men's  varsity   positions.     This
                      extreme  action is  entirely unnecessary.


                                         -75-
                                         -75-















                      The easy answer lies in ordering Brown to
                      comply with prong  three by upgrading the
                      women's gymnastics,  fencing, skiing, and
                      water  polo  teams  to  university-funded
                      varsity status.  In this way, Brown could
                      easily achieve prong three's  standard of
                      "full and effective accommodation  of the
                      underrepresented sex."  This remedy would
                      entail   upgrading   the   positions   of
                      approximately  40  women.  In   order  to
                      finance   the   40   additional   women's
                      positions, Brown certainly will  not have
                      to  eliminate as  many as  the 213  men's
                      positions that would be cut under Brown's
                      Phase  II  proposal.    Thus,  Brown will
                      fully comply with Title IX by meeting the
                      standards   of   prong   three,   without
                      approaching satisfaction of the standards
                      of prong one.  

                      It is  clearly in  the  best interest  of
                      both the male and the  female athletes to
                      have an increase in women's opportunities
                      and   a   small    decrease   in    men's
                      opportunities, if necessary, rather than,
                      as  under Brown's  plan,  no increase  in
                                                __
                      women's   opportunities   and   a   large
                                                          _____
                      decrease    in    men's    opportunities.
                      Expanding women's  athletic opportunities
                      in  areas where  there is  proven ability
                      and interest is the very purpose of Title
                      IX  and  the simplest,  least disruptive,
                      route to Title IX compliance at Brown.

          Id. at 11-12.
          ___

                      The  district  court  ordered Brown  to  "elevate and

          maintain women's gymnastics, women's  water polo, women's skiing,

          and women's fencing to university-funded varsity status."  Id. at
                                                                     ___

          12.   The court stayed this part  of the order pending appeal and

          further ordered that, in  the interim, the preliminary injunction

          prohibiting  Brown  from  eliminating  or  demoting  any existing

          women's varsity team would remain in effect.  Id.
                                                        ___



                                         -76-
                                         -76-















                      We  agree  with  the  district   court  that  Brown's

          proposed  plan fell  short of  a good  faith  effort to  meet the

          requirements of Title IX as explicated  by this court in Cohen II
                                                                   ________

          and as applied by the district court on remand.  Indeed, the plan

          is replete with argumentative  statements more appropriate for an

          appellate brief.  It  is obvious that Brown's plan  was addressed

          to this court,  rather than to offering a  workable solution to a

          difficult problem.

                      It  is clear, nevertheless,  that Brown's proposal to

          cut men's teams is a permissible means of effectuating compliance

          with  the statute.   Thus,  although  we understand  the district

          court's reasons  for substituting  its own specific  relief under

          the circumstances at the time, and although the district  court's

          remedy  is within  the statutory  margins and  constitutional, we

          think that  the district court  was wrong  to reject  out-of-hand

          Brown's alternative plan  to reduce the  number of men's  varsity

          teams.  After all,  the district court itself stated that  one of

          the  compliance options available to  Brown under Title  IX is to

          "demote or  eliminate the  requisite number of  men's positions."

          Cohen III, 879 F. Supp. at 214.  Our respect for academic freedom
          _________

          and  reluctance  to  interject  ourselves  into  the  conduct  of

          university  affairs counsels  that we  give universities  as much

          freedom as possible in conducting their operations consonant with

          constitutional  and statutory limits.  Cohen II, 991 F.2d at 906;
                                                 ________

          Villanueva, 930 F.2d at 129.
          __________



                                         -77-
                                         -77-















                      Brown therefore should be afforded the opportunity to

          submit another plan for compliance with Title IX.  The context of

          the  case has  changed in  two significant  respects since  Brown

          presented its original plan.  First, the substantive issues  have

          been decided adversely to Brown.  Brown is no longer an appellant

          seeking a favorable result in the Court  of Appeals.  Second, the

          district  court is not under  time constraints to  consider a new

          plan and fashion a remedy so as to expedite appeal.  Accordingly,

          we remand the case to the district court so that Brown can submit

          a  further plan for its consideration.  In all other respects the

          judgment  of the  district court  is  affirmed.   The preliminary

          injunction issued by the district court in Cohen I,  809 F. Supp.
                                                     _______

          at 1001, will remain in effect pending a final remedial order.

                                        VIII.
                                        VIII.

                      There can be no  doubt that Title IX has  changed the

          face of women's sports as well  as our society's interest in  and

          attitude  toward women athletes  and women's sports.   See, e.g.,
                                                                 ___  ____

          Frank DeFord, The Women  of Atlanta, Newsweek, June 10,  1996, at
                        _____________________

          62-71; Tharp, supra,  at 33;  Robert Kuttner,  Vicious Circle  of
                        _____                            __________________

          Exclusion,  Washington  Post, September  4,  1996,  at  A15.   In
          _________

          addition,  there  is  ample  evidence  that  increased  athletics

          participation opportunities for women and  young girls, available

          as a result of Title IX enforcement, have had salutary effects in

          other areas of societal concern.  See DeFord, supra, at 66. 
                                            ___         _____





                                         -78-
                                         -78-















                      One  need  look   no  further  than  the   impressive

          performances  of our country's women athletes in the 1996 Olympic

          Summer Games to see that Title IX has had a dramatic and positive

          impact on the capabilities of our women athletes, particularly in

          team sports.  These Olympians represent the first full generation

          of  women  to  grow  up  under  the  aegis  of  Title  IX.    The

          unprecedented  success  of these  athletes  is due,  in  no small

          measure, to Title IX's beneficent  effects on women's sports,  as

          the athletes themselves have  acknowledged time and again.   What

          stimulated  this  remarkable change  in  the  quality of  women's

          athletic  competition  was not  a  sudden,  anomalous upsurge  in

          women's interest  in sports,  but the  enforcement of  Title IX's

          mandate of gender equity in sports.  Kuttner, supra, at A15.   
                                                        _____



                      Affirmed in part, reversed  in part, and remanded for
                      Affirmed in part  reversed  in part, and remanded for

          further proceedings.  No costs on appeal to either party.
          further proceedings.  No costs on appeal to either party.





                            - Dissenting opinion follows -
                            - Dissenting opinion follows -















                                         -79-
                                         -79-















                    TORRUELLA, Chief Judge (Dissenting).   Because I am not
                    TORRUELLA, Chief Judge (Dissenting).
                               ___________

          persuaded  that the majority's  view represents the  state of the

          law today, I respectfully dissent.

                                I. THE LAW OF THE CASE
                                I. THE LAW OF THE CASE

                    Under the doctrine of the "law of the case," a decision

          on  an issue  of law  made by the  court at  one stage  of a case

          becomes  a binding precedent to  be followed in successive stages

          of the  same  litigation except  in unusual  circumstances.   See
                                                                        ___

          Abbadessa v. Moore  Business Forms,  Inc., 987 F.2d  18, 22  (1st
          _________    ____________________________

          Cir. 1993); EEOC v. Trabucco, 791 F.2d 1, 2  (1st Cir. 1986).  It
                      ____    ________

          is  well established,  however, that  a  decision of  the Supreme

          Court, that is rendered between two appeals and is irreconcilable

          with the  decision on the first  appeal, must be  followed on the

          second  appeal.   See  Linkletter v.  Walker,  381 U.S.  618, 627
                            ___  __________     ______

          (1965);  Metcalf &amp; Eddy, Inc.  v. Puerto Rico  Aqueduct and Sewer
                   ____________________     _______________________________

          Auth., 945 F.2d 10, 12 (1st  Cir. 1991), rev'd on other  grounds,
          _____                                    _______________________

          506 U.S. 139  (1993); Young v.  Herring, 917  F.2d 858 (5th  Cir.
                                _____     _______

          1990);  Fogel v.  Chestnutt, 668  F.2d 100,  109 (2d  Cir. 1981),
                  _____     _________

          cert. denied, 459 U.S. 828 (1982).  I believe that we face such a
          ____________

          situation in the instant case.

                    A.   Adarand and Metro Broadcasting
                    A.   Adarand and Metro Broadcasting
                         _______     __________________

                    At  the time of Cohen v. Brown University, 991 F.2d 888
                                    _____    ________________

          (1st Cir.  1993) (Cohen  II), the standard  intermediate scrutiny
                            _________

          test  for discriminatory  classifications  based on  sex required

          that "a statutory classification must be substantially related to



                                         -80-
                                         -80-















          an important government  objective."   Clark v.  Jeter, 486  U.S.
                                                 _____     _____

          456, 461 (1988); see  also Mississippi Univ. for Women  v. Hogan,
                           _________ ___________________________     _____

          458  U.S. 718, 723-24, and  n.9 (1982); Mills  v. Habluetzel, 456
                                                  _____     __________

          U.S. 91, 99  (1982); Craig v.  Boren, 429 U.S.  190, 197  (1976);
                               _____     _____

          Matthews v.  Lucas, 427 U.S. 495, 505-06 (1976).  As was also the
          ________     _____

          case under  strict scrutiny review prior  to Adarand Construction
                                                       ____________________

          Inc.   v.  Pena, __  U.S. __,  115 S.  Ct. 2097  (1995), however,
          ____       ____

          courts applying intermediate scrutiny sometimes  allowed "benign"

          gender  classifications   on  the   grounds  that  they   were  a

          "reasonable means of compensating women as a class for past . . .

          discrimination."   Ronald D. Rotunda &amp; John E. Novack, 3 Treatise
                                                                   ________

          on Constitutional Law    18.23, at 277; see Califano  v. Webster,
          _____________________                   ___ ________     _______

          430  U.S.  313, 317  (1977)  (allowing women  to  compute certain

          social security benefits with a more favorable formula than could

          be used by  men); Lewis v.  Cohen, 435 U.S.  948 (1978)  (summary
                            _____     _____

          affirmance of a  district court decision upholding a provision of

          the Railroad Retirement Act  that allowed women to retire  at age

          60 while men could not retire until age 65).

                    In Cohen II, we applied precisely  this type of benign-
                       ________

          classification analysis  to what  we viewed to  be benign  gender

          discrimination by the federal government.   Although Cohen II, in
                                                               ________

          its brief  discussion of  the  equal protection  issue, does  not

          specify the precise standard it used, the court stated that "even

          if we were to  assume . . . that the  regulation creates a gender

          classification slanted somewhat  in favor of women, we would find



                                         -81-
                                         -81-















          no  constitutional infirmity."  Cohen II,  991 F.2d at 901.  Note
                                          ________

          that the focus is on  the government's ability to favor  women in

          this context, rather than on an "important government objective,"

          suggesting  that  the court  considered the  issue  to be  one of

          benign discrimination.  Indeed,  no governmental interest is even

          identified in Cohen II.  Furthermore, both  of the cases cited by
                        ________

          the Court in Cohen II are cases in which a suspect classification
                       ________

          was allowed because it  was judged benign, see id. at 901 (citing
                                                     ___ ___

          Metro  Broadcasting Inc.  v.  FCC, 497  U.S.  547 (1990)  (race);
          ________________________      ___

          Califano v. Webster, 430 U.S. 313 (1977) (sex)).
          ________    _______

                    Cohen  II's  assumption that  a  regulation slanted  in
                    _________

          favor of  women would be  permissible, Cohen II 991  F.2d at 901,
                                                 ________

          and   by  implication   that   the  same   regulation  would   be

          impermissible if it favored men, was based on Metro Broadcasting,
                                                        __________________

          which  held   that  benign  race-based  action   by  the  federal

          government  was subject  to  a lower  standard than  non-remedial

          race-based action.    See Metro  Broadcasting, 497  U.S. at  564.
                                ___ ___________________

          Specifically, the Supreme Court announced that

                      benign  race-conscious  measures mandated
                      by    Congress    are    constitutionally
                      permissible to the extent that they serve
                                  _____________________________
                      important governmental objectives  within
                      _________________________________________
                      the   power   of    Congress   and    are
                      _________________________________________
                      substantially  related to  achievement of
                      _________________________________________
                      those objectives.
                      ________________

          Id.  at  565  (emphasis  added).    Although  Metro  Broadcasting
          ___                                           ___________________

          explicitly discussed race-conscious rather  than gender-conscious





                                         -82-
                                         -82-















          classifications,  we applied its standard in Cohen II.  See Cohen
                                                       ________   ___ _____

          II, 991 F.2d at 901.
          __

                    Since Cohen  II, however, Metro  Broadcasting has  been
                          _________           ___________________

          overruled, at  least in part.  See  Adarand Constr. Inc. v. Pena,
                                         ___  ____________________    ____

          ___ U.S. ___, ___, 115 S. Ct. 2097, 2111-12 (1995).  In  Adarand,
                                                                   _______

          the Supreme Court  held that  "all racial classifications  . .  .

          must be analyzed under strict scrutiny."  Adarand, 115 S. Ct.  at
                                                    _______

          2113.   The Court in Adarand singled  out Metro Broadcasting as a
                               _______              __________________

          "significant  departure"  from  much  of  the   Equal  Protection

          jurisprudence  that  had  come  before  it, in  part  because  it

          suggested that "benign" government race-conscious classifications

          should be treated less skeptically than others.  See Adarand, 115
                                                           ___ _______

          S. Ct. at 2112.

                    In Adarand,  the Supreme  Court reasoned that  "'it may
                       _______

          not  always be  clear  that a  so-called  preference is  in  fact

          benign.'"   Id. (quoting Regents  of Univ. of  Cal. v. Bakke, 438
                      ___          __________________________    _____

          U.S. 265  (1978)  (opinion of  Powell, J.)).   Additionally,  the

          Supreme Court endorsed the view that

                    [a]bsent searching judicial inquiry  into the
                    justification  for such  race-based measures,
                    there is  simply no  way of  determining what
                    classifications  are  'benign' or  'remedial'
                    and   what   classifications   are  in   fact
                    motivated by illegitimate  notions of  racial
                    inferiority or simple racial politics.

          Id. at  2112; see also Richmond v. J.A. Croson Co., 488 U.S. 469,
          ___           ________ ________    _______________

          493 (1989).





                                         -83-
                                         -83-















                    It  is not necessary to  equate race and  gender to see

          that the  logic of  Adarand --  counseling that we  focus on  the
                              _______

          categories and  justifications proffered rather  than the  labels

          attached -- applies in the context of gender.  While cognizant of

          differences   between   race-focused  and   gender-focused  Equal

          Protection precedent,  I nevertheless think that  Adarand compels
                                                            _______

          us  to  view  so-called  "benign"  gender-conscious  governmental

          actions  under  the  same  lens  as  any  other  gender-conscious

          governmental actions.  See Adarand, 115 S. Ct.  at 2112; see also
                                 ___ _______                       ________

          United  States  v. Virginia,  116  S.Ct 2264,  2274,  2277 (1996)
          ___________________________

          (viewing   Virginia's   benign   justification   for   a   gender

          classification  skeptically);  Shuford  v. Alabama  State  Bd. of
                                         _______     ______________________

          Educ., 897  F. Supp.  1535, 1557   (D. Ala.  1995) (stating  that
          _____

          courts  "must look behind the  recitation of a  benign purpose to

          ensure    that    sex-based    classifications    redress    past

          discrimination").   Rather than  conduct an inquiry  into whether

          Title  IX  and  its  resulting interpretations  are  "benign"  or

          "remedial," and conscious of the fact that labels can be used  to

          hide illegitimate notions of  inferiority or simple politics just

          as easily in the context  of gender as in the context of race, we

          should now follow Adarand's lead and subject all gender-conscious
                            _______

          government action to the same inquiry.25

                                
            ____________________

            25.  Our  discussion  in  Cohen  II also  cited  Califano  v.
                                      _________              ________
            Webster, 430 U.S. 313  (1977), which has not  been explicitly
            _______
            overruled.   That case  concerned Congress'  provision, under
            the Social Security Act, for a lower retirement age for women
            than  for men,  with the  result that,  as  between similarly

                                         -84-
                                         -84-















                    B.   United States v. Virginia
                    B.   United States v. Virginia
                         _____________    ________

                    A  second Supreme Court case has also made it necessary

          to  review  our decision  in  Cohen  II.    In United  States  v.
                                        _________        ______________

          Virginia,  116  S.Ct.  2264  (1996),  the  Court  faced  an Equal
          ________

          Protection challenge  to Virginia's  practice of maintaining  the

          Virginia  Military Institute as an all  male institution.  Rather

          than  simply apply  the  traditional test  requiring that  gender

          classifications   be  "substantially  related   to  an  important

          government objective," Clark v.  Jeter 486 U.S. 456, 461  (1988),
                                 _____     _____

          the Supreme Court applied a more searching "skeptical scrutiny of

          official action  denying rights  or opportunities based  on sex,"

          id., at 2274, which  requires that "[p]arties who seek  to defend
          ___

          gender-based government action  must demonstrate an  'exceedingly

          persuasive  justification'   for  that  action,"  id.     In  its
                                                            ___

          discussion,  the  Court stated  that, in  order  to prevail  in a

          gender  case, "the State must  show at least  that the challenged
                                              ________

                                
            ____________________

            situated male and female wage-earners, the female wage-earner
            would be awarded higher monthly social security payments, id.
                                                                      ___
            at 314-16.   In that  case, Congress specifically  found that
            more  frequent and  lower age  limits were  being applied  to
            women than to men in the labor market.  Id. at 319.  This led
                                                    ___
            the  Supreme Court to characterize the  provision at issue as
            remedial rather  than benign,  noting that the  provision had
            been  repealed  in   1972,  roughly  contemporaneously   with
            "congressional  [anti-discrimination] reforms  [that]  . .  .
            have  lessened  the  economic   justification  for  the  more
            favorable benefit computation" for  women.  Id. at 320.   The
                                                        ___
            instant case  should be  distinguished from Califano  for two
                                                        ________
            reasons.  First, Califano did  not necessarily rule on benign
                             ________
            classifications,  as Metro  Broadcasting and  Adarand clearly
                                 ___________________      _______
            did.  Second, Califano, unlike the instant case, contained an
                          ________
            "exceedingly  persuasive  justification"   for  its   gender-
            conscious state action.

                                         -85-
                                         -85-















          classification  serves important governmental objectives and that

          the  discriminatory means employed  are substantially  related to

          the  achievement of  those objectives."   Id.  at 2275  (internal
                                                    ___

          quotations  omitted)  (emphasis  added).    Being  "substantially

          related  to  an  important government  objective,"  therefore, is

          considered  a necessary but not sufficient  condition.  The Court

          also requires a  focus on "whether the proffered justification is

          "exceedingly persuasive."  Id.
                                     ___

                    Virginia   "drastically   revise[d]   our   established
                    ________

          standards for reviewing sex-based  classifications."  Id. at 2291
                                                                ___

          (Scalia, J. dissenting).  "Although the Court in two places . . .

          asks whether  the State has demonstrated  that the classification

          serves   important   governmental   objectives   and   that   the

          discriminatory means  employed are  substantially related  to the

          achievement of those objectives . . . the Court never answers the

          question presented  in anything  resembling that  form."  Id.  at
                                                                    ___

          2294  (citations omitted).   "[T]he  Court proceeds  to interpret

          'exceedingly   persuasive  justification'   in  a   fashion  that

          contradicts  the reasoning  of Hogan  and our  other precedents."
                                         _____

          Id.
          ___

                    What is important for our  purposes is that the Supreme

          Court  appears  to  have  elevated  the  test  applicable  to sex

          discrimination  cases  to  require  an   "exceedingly  persuasive

          justification."   This is evident  from the language  of both the

          majority opinion and the dissent in Virginia.
                                              ________



                                         -86-
                                         -86-















                    This  is  not  just  a  matter  of  semantics.    Metro
                                                                      _____

          Broadcasting,  and our application  of its  intermediate scrutiny
          ____________

          standard in Cohen II, omitted the additional "skeptical scrutiny"
                      ________

          requirement  of an  "exceedingly  persuasive  justification"  for

          gender-based government  action.  Compare Virginia,  116 S.Ct. at
                                            _______ ________

          2274 (citing J.E.B. v.  Alabama ex rel. T.B., 511 U.S.  127, 136-
                       ______     _______ _______ ____

          37, and n.6 (1994)),  and Mississippi Univ. for Women  v. Holden,
                                    ___________________________     ______

          458  U.S. 718, 724 (1982),  with Metro Broadcasting,  497 U.S. at
                                      ____ __________________

          564-65.

                    I conclude,  therefore, that Adarand  and Virginia  are
                                                 _______      ________

          irreconcilable with the analysis in Cohen II and, accordingly, we
                                              ________

          must follow the  guidance of  the Supreme Court  in this  appeal.

          Under the new standards  established in those cases, Cohen  II is
                                                               _________

          flawed both because it applies  a lenient version of intermediate

          scrutiny that  is impermissible following Adarand  and because it
                                                    _______

          did not apply the  "exceedingly persuasive justification" test of

          Virginia.    We  must,  as  Brown  urges,   reexamine  the  Equal
          ________

          Protection challenge  to the  three-prong test as  interpreted by

          the district court.

                    C. Preliminary Injunction
                    C. Preliminary Injunction

                    In addition  to the  above reasons for  considering the

          merits of this appeal, it is important to note that  Cohen II was
                                                               ________

          an appeal from a  preliminary injunction.  "When an  appeal comes

          to  us in that posture,  the appellate court's  conclusions as to

          the merits of  the issues presented on preliminary injunction are



                                         -87-
                                         -87-















          to be understood as statements of  probable outcomes, rather than

          as comprising the ultimate law of the case."  A.M. Capen s Co. v.
                                                        ________________

          American Trading and Prod. Co., 74  F.3d 317, 322 (1st Cir. 1996)
          ______________________________

          (internal  quotations omitted);  see  also  Narrangansett  Indian
                                           _________  _____________________

          Tribe v. Guilbert, 934 F.2d 4, 6 (1st Cir. 1991).
          _____    ________

                    The  binding  authority  of  Cohen  II,  therefore,  is
                                                 _________

          lessened  by the fact  that it was  an appeal from  a preliminary

          injunction.  First, we now have a full record before us and a set

          of  well-defined  legal  questions  presented  by the  appellant.

          Trial  on the merits has  served to focus  these questions and to

          provide  background that allows us to consider these questions in

          the proper context  and in detail.  In its  decision in Cohen II,
                                                                  ________

          this court  recognized and, indeed, emphasized the  fact that its

          holding was  only preliminary.   Cohen  II, 991  F.2d at  902 ("a
                                           _________

          party losing the battle on likelihood of success  may nonetheless

          win the war  at a succeeding trial").   Rather than  turning that

          ruling into a  permanent one,  we should review  the question  in

          light of the full set of facts now available.

                    Second, the standard of review has  changed.  The Cohen
                                                                      _____

          II  court stated that it  was adopting a  deferential standard of
          __

          review, and that "if . . . the district court made no clear error

          of law  or fact, we will overturn its calibration  . . . only for

          manifest abuse  of discretion."  Id. at 902.  The test applied by
                                           ___

          the court was based  on "(1) the movant's probability  of victory

          on  the merits;  (2) the  potential for  irreparable harm  if the



                                         -88-
                                         -88-















          injunction is refused;  (3) the balance  of interests as  between

          the parties . . . and (4) the public interest."  Id.  The case is
                                                           ___

          now before  us on appeal  from the merits  and we must  review it

          accordingly.  For  the purposes  of this appeal,  we must  review

          findings of  fact under  a clearly  erroneous standard,  Reich v.
                                                                   _____

          Newspapers of New  England, Inc.,  44 F.3d 1060,  1069 (1st  Cir.
          ________________________________

          1995)  and findings of law de novo, Portsmouth v. Schlesinger, 57
                                     _______  __________    ___________

          F.3d  12, 14 (1st Cir. 1995).   Because the standard has changed,

          it  is conceivable that the  result of the  analysis will change,

          making review appropriate.

                        II. BROWN'S EQUAL PROTECTION CHALLENGE
                        II. BROWN'S EQUAL PROTECTION CHALLENGE

                    Appellees have  argued that  the three-prong test  does

          not  create a  gender classification  because the  classification

          applies to  both women and  men.   Although I agree  that by  its

          words, the test would apply to men at institutions where they are

          proportionately underrepresented in intercollegiate  athletics, I

          cannot  accept  the  argument   that,  via  this  provision,  the

          Government  does not classify its citizens by gender.  See United
                                                                 ___ ______

          States v. Virginia, ___ U.S. ___, 116 S. Ct. 2264, 2274-76 (1996)
          ______    ________

          (applying Equal  Protection  review to  "gender-based  government

          action" where Commonwealth of  Virginia attempted to maintain two

          purportedly  equal  single-sex  institutions).    Cf.  Loving  v.
                                                            ___  ______

          Virginia,  388 U.S. 1, 8-9  (1967) (stating that  even though the
          ________

          statute  at issue applied equally to  members of different racial

          classifications,   it   still   implicated   race-related   Equal



                                         -89-
                                         -89-















          Protection  concerns,  since the  statute itself  contained race-

          conscious   classifications).    The   fact  of  gender-conscious

          classification, even with equal  enforcement with respect to both

          genders, requires  the application of a higher  level of scrutiny

          than  rational  basis   review.    We  cannot   pretend  that  an

          interpretation of a statute that contains explicit categorization

          according  to gender  and that  has intentional  gender-conscious

          effect does not represent  gender-based government action.  Equal

          Protection  is   implicated  where  the  claim  is  made  that  a

          classification made  by the government  intentionally subjects an

          individual   to  treatment  different   from  similarly  situated

          individuals  based on  an impermissible  characteristic,  such as

          race, national  origin, or gender.   Ronald D. Rotunda  &amp; John E.

          Nowak, 3  Treatise on Constitutional Law    18.2, at 7-8  (2d ed.
                    ______________________________

          1992).

                    A.   The  District Court's  Construction of  the Three-
                         The  District Court's  Construction of  the Three-
                         Prong Test
                         Prong Test

                      1. Prong One
                      1. Prong One

                    A central issue  in this  case is the  manner in  which

          athletic  "participation opportunities" are  counted.  During the

          1990-91  academic year,  Brown fielded  16 men s  and  15 women s

          varsity teams on  which 566 men and  328 women participated.   By

          the 1993-94 year, there were 12 university-funded men s teams and

          13 university funded women s teams.  These teams included 479 men

          and 312 women.   Based  on an analysis  of membership in  varsity

          teams,  the  district  court   concluded  that  there  existed  a


                                         -90-
                                         -90-















          disparity   between   female  participation   in  intercollegiate

          athletics and female student enrollment.

                    Even assuming that membership numbers in varsity sports

          is a  reasonable proxy for participation opportunities  -- a view

          with which I do not concur -- contact sports should be eliminated

          from  the  calculus.   The regulation  at  34 C.F.R.    106.41(b)

          (1995) provides that an academic institution may operate separate

          teams  for members of each sex "where  selection of such teams is

          based  upon  competitive  skill or  the  activity  involved  is a

          contact sport."  34 C.F.R.   106.41(b).  When a team is sponsored

          only  for one sex, however, and where "athletic opportunities for

          members  of that sex have previously been limited, members of the

          excluded  sex must  be allowed  to try-out  for the  team offered

          unless  the sport  involved is  a contact  sport," id.  (emphasis
          ________________________________________________   ___

          added).   The  regulation, therefore,  allows schools  to operate

          single-sex  teams  in contact  sports.  In counting participation

          opportunities,  therefore, it does  not make sense  to include in

          the  calculus  athletes  participating  in  contact  sports  that

          include only men s teams.   For example, if a  university chooses

          to  sponsor a football  team, it is  permitted to  sponsor only a

          men s team.   Not  all sports  are  the same  and the  university

          should be given the flexibility to determine which activities are

          most  beneficial  to  its student  body.    By  including in  its

          accounting a  contact sport that  requires very large  numbers of

          participants, e.g., football, the district court skews the number



                                         -91-
                                         -91-















          of  athletic  participants  --   making  it  impossible  for  the

          university to  provide  both men's  and  women's teams  in  other

          sports.

                    If  the  athletes competing  in  sports  for which  the

          university is  permitted to  field single-sex teams  are excluded

          from the  calculation of  participation rates, the  proportion of

          women  participants would  increase  dramatically  and prong  one

          might be  satisfied.  If so, the inquiry ends and Brown should be

          judged to be in compliance.

                      2. Prong Two
                      2. Prong Two

                    The  district court concluded, and the majority appears

          to  agree, that Brown failed to satisfy prong two because "merely

          reducing program offerings to the overrepresented gender does not

          constitute  program expansion  for the  underrepresented gender."

          Majority Opinion at  18.  This  is a curious  result because  the

          entire three-prong test is based on relative participation rates.
                                              ________

          Prong one, for example, requires that participation opportunities

          be provided  proportionately to enrollment, but  does not mandate

          any absolute number of such opportunities.   The district court s

          conclusion with  respect to  prong two, however,  implies that  a

          school  must not only demonstrate that the proportion of women in

          their program  is growing over time,  it must also show  that the

          absolute number of women participating is increasing.26
          ________

                                
            ____________________

            26.  This  requirement presents  a  dilemma for  a school  in
            which  women  are  less  interested in  athletics,  as  Brown
            contends is the case.  Under such conditions, a school may be

                                         -92-
                                         -92-















                    Under  the  district court's  interpretation,  a school

          facing  budgetary constraints must, in order to comply with prong

          two, increase the opportunities available to the underrepresented
               ________

          gender,  even  if  it  cannot  afford  to  do  so.   Rather  than

          respecting  the school s  right to  determine the  role athletics

          will  play in the future --  including reducing the opportunities

          available  to   the  formerly  overrepresented  gender to  ensure

          proportionate  opportunities  --  the  district   court  and  the

          majority  demand  that  the  absolute  number   of  opportunities
                                       ________

          provided to the underrepresented  gender be increased.  I  see no

          possible  justification for this interpretation -- the regulation

          is  intended to  protect against  discrimination, not  to promote

          athletics  on  college campuses.   A  school  is not  required to

          sponsor an  athletic program of any  particular size.  It  is not

          for the courts, or  the legislature, for that matter,  to mandate

          programs of a given  size.  The most that can be demanded is that

          athletics be provided in a non-discriminatory manner.

                    Furthermore,  the  claim   that  a  reduction   in  the

          opportunities  given   to  the   overrepresented  gender  is   an

          unacceptable  method of  coming  into compliance  with the  three

          prong test  is contrary  to both  Cohen  II and  comments of  the
                                            _________

          majority opinion.  The majority quotes approvingly from Cohen  v.
                                                                  _____

          Brown  Univ.,  879 F.  Supp. 185  (D.R.I.  1995) (Cohen  III), to
          ____________                                      __________

                                
            ____________________

            unable to  succeed under the  second prong because  there may
            not  be  enough  interested  female  students  to  achieve  a
            continuing increase in the number of female participants.

                                         -93-
                                         -93-















          demonstrate the many  ways in  which a  university might  achieve

          compliance:

                      It  may  eliminate  its athletic  program
                      altogether, it may elevate or  create the
                      requisite number of women s positions, it
                      may  demote  or  eliminate the  requisite
                      number  of  men s  positions,  or  it may
                      implement   a    combination   of   these
                      remedies.

          Majority Opinion at 70  (quoting Cohen III).  This  conclusion is
                                           _________

          consistent  with Cohen II, which states that a school may achieve
                           ________

          compliance  by  reducing  opportunities for  the  overrepresented

          gender.  See Cohen II,  991 F.2d at 898 n.15.  I fail  to see how
                   ___ ________

          these  statements can  be reconciled  with  the claim  that Brown

          cannot satisfy prong two by  reducing the number of participation

          opportunities for men.

                      3. Prong Three
                      3. Prong Three

                    Prong three of the  three-prong test states that, where

          an institution does not comply with prongs one or two, compliance

          will be assessed on the basis of

                      whether it  can be demonstrated  that the
                      interests and abilities of the members of
                      th[e]  [proportionately underrepresented]
                      sex  have  been  fully   and  effectively
                      accommodated by the present program.

          44 Fed. Reg. 71,413, 71,418 (December 11, 1979).

                    According  to the  district  court,  Brown's  athletics

          program   violates   prong   three   because   members   of   the

          proportionately underrepresented sex  have demonstrated  interest

          sufficient for a  university-funded varsity team  that is not  in



                                         -94-
                                         -94-















          fact being funded.  The district court asserts that this is not a

          quota.   Brown, on  the other  hand, argues that  prong three  is

          satisfied  when (1) the interests and abilities of members of the

          proportionately underrepresented gender  (2) are accommodated  to

          the same degree as the proportionately overrepresented gender.

                    The  district  court's  narrow, literal  interpretation

          should  be  rejected  because  prong  three  cannot  be  read  in

          isolation.   First,  as Brown  points  out, the  Regulation  that

          includes prong three provides that, in assessing compliance under

          the regulation, "the governing principle in this area is that the

          athletic interests and  abilities of male and female  students be
          _________________________________________________________________

          equally  effectively accommodated."    Policy Interpretation,  44
          _________________________________      _____________________

          Fed.  Reg. 71,413, 71,414.  Thus, Brown contends, to meet "fully"

          -- in  an absolute  sense --  the interests  and abilities  of an

          underrepresented   gender,  while   unmet   interest  among   the

          overrepresented  gender continues, would contravene the governing

          principle of "equally effective accommodat[ion]" of the interests

          and abilities of students of both genders.

                    It  is   also  worthwhile  to  note   that  to  "fully"

          accommodate the  interests and abilities of  the underrepresented

          sex  is  an extraordinarily  high  --  perhaps impossibly  so  --

          requirement.   How could an academic institution with a large and

          diverse  student  body  ever  "fully"  accommodate  the  athletic

          interests  of its  students?   Under  even  the largest  athletic

          program,  it would  be surprising  to find  that there  is not  a



                                         -95-
                                         -95-















          single student who would  prefer to participate in  athletics but

          does not do so because the school does not offer a program in the

          particular sport that interests the student.  To read fully in an

          absolute sense would make the third prong virtually impossible to

          satisfy and, therefore, an irrelevant addition to the test.

                    This  difficulty  was  recognized in  Cohen  II,  which
                                                          _________

          stated  that "the mere fact  that there are  some female students

          interested  in a sport does not ipso  facto require the school to
                                          ___________

          provide  a varsity  team  in  order  to  comply  with  the  third

          benchmark."  Cohen II 991 F.2d at 898.  The balance that Cohen II
                       ________                                    ________

          advocates  would require the institution to ensure "participatory

          opportunities  . .  .  when, and  to  the extent  that, there  is

          sufficient interest and ability among the members of the excluded

          sex to sustain a viable team."  Id. (internal citations omitted).
                                          ___

          This standard  may be practical  for certain sports  that require

          large  teams, but what of  individual sports?   A "viable" tennis

          team may require only a single player.  The same could be said of

          any individual  sport, including golf, track  and field, cycling,

          fencing,  archery, and  so  on.   Therefore,  we still  have  the

          problem  that  to  "fully   accommodate"  the  interests  of  the

          underrepresented sex may be impossible under the district court's

          interpretation.

                    In light of the above, Brown argues that prong three is

          in  fact ambiguous with respect  to whether "fully"  means (1) an

          institution must meet 100% of the underrepresented gender's unmet



                                         -96-
                                         -96-















          reasonable interest and ability, or (2)  an institution must meet

          the  underrepresented  gender's  unmet  reasonable  interest  and

          ability as fully as it meets those of the overrepresented gender.

          I  agree  with  Brown  that,  in  the  context  of  OCR's  Policy

          Interpretation, prong three is susceptible  to at least these two

          plausible interpretations.    

                    Additionally, section 1681(a),  a provision enacted  by

          Congress as part of  Title IX itself, casts doubt on the district

          court's reading of prong three.   20 U.S.C.   1681(a) (1988).  As

          Brown points out, Title IX, of which the Policy Interpretation is

          an   administrative   interpretation,   contains  language   that

          prohibits the ordering of preferential  treatment on the basis of

          gender due  to a failure of a program to substantially mirror the

          gender ratio  of an institution.   Specifically, with  respect to

          Title  IX's guarantee  that no  person shall  be excluded  on the

          basis  of sex from "participation  in, denied the  benefits of or

          subjected  to  discrimination  under  any  education  program  or

          activity receiving  Federal financial  assistance,"  20 U.S.C.   

          1681(a),

                      [n]othing  contained  [therein] shall  be
                      interpreted  to  require any  educational
                      institution  to   grant  preferential  or
                      disparate treatment to the members of one
                      sex on account of an  imbalance which may
                      exist with respect to the total number or
                      percentage   of   persons   of  the   sex
                      participating   in   or   receiving   the
                      benefits   of  any   federally  supported
                      program or activity,  in comparison  with
                      the total number or percentage of persons
                      of that sex in any community.


                                         -97-
                                         -97-















          Id.   1681(b).   Section 1681(b) provides yet another  reason why
          ___

          the  district court's reading  of prong three  is troublesome and

          why Brown's reading is a reasonable alternative.

                    Since  the applicable  regulation, 34 C.F.R.    106.41,

          and  policy   interpretation,  44  Fed.  Reg.   71,418,  are  not

          manifestly  contrary to the objectives of  Title IX, and Congress

          has  specifically delegated  to an  agency the  responsibility to

          articulate standards governing a  particular area, we must accord

          the  ensuing regulation considerable  deference.  Chevron, U.S.A.
                                                            _______________

          v. Natural Resources  Defense Council,  Inc., 467  U.S. 837,  844
             _________________________________________

          (1984).   That notwithstanding, where -- as here -- the resulting

          regulation   is   susceptible   to  more   than   one  reasonable

          interpretation, we  owe no  such deference to  the interpretation

          chosen where  the choice is  made not  by the agency  but by  the

          district  court.    Therefore,  like  other  cases  of  statutory

          interpretation, we should review  the district court's reading de
                                                                         __

          novo.
          ____

                    B.   The  District  Court's   Interpretation  and   the
                    B.   The  District  Court's   Interpretation  and   the
                         Resulting Equal Protection Problem
                         Resulting Equal Protection Problem

                    The  district court's interpretation  of prongs one and

          three creates an Equal Protection problem, which I analyze in two

          steps.   First,  the  district court's  interpretation creates  a

          quota  scheme.   Second,  even assuming  such  a quota  scheme is

          otherwise  constitutional,  appellees  have  not  pointed  to  an

          "exceedingly  persuasive justification," see  Virginia, 116 S.Ct.
                                                   ___  ________

          at 2274, for this particular quota scheme.


                                         -98-
                                         -98-















                      1. The Quota
                      1. The Quota

                    I  believe that the  three prong test,  as the district

          court interprets  it, is a  quota.   I am in  square disagreement

          with the majority, who believe that "[n]o aspect of the  Title IX

          regime  at issue  in  this  case  .  .  .  mandates  gender-based

          preferences or quotas."   Majority  Opinion at 29.   Put  another

          way,  I agree  that  "Title  IX  is  not  an  affirmative  action

          statute,"  id., but I believe  that is exactly  what the district
                     ___

          court has made of it.   As interpreted by the district court, the

          test constitutes an affirmative action, quota-based scheme.

                    I  am less interested  in the actual  term "quota" than

          the legally cognizable characteristics that render a quota scheme

          impermissible.   And  those characteristics  are present  here in

          spades.  I  am not persuaded by the majority's  argument that the

          three-part test does not  constitute a quota because it  does not

          permit an agency or court to find a violation solely on the basis

          of prong one of the test; instead,  an institution must also fail

          prongs  two and  three.   As Brown  rightly argues,  the district

          court's  application of  the three-prong  test requires  Brown to

          allocate its athletic resources to meet the as-yet-unmet interest

          of  a member  of the  underrepresented sex,  women in  this case,

          while   simultaneously  neglecting   any  unmet   interest  among

          individuals of the overrepresented  sex.  To the extent  that the

          rate of interest in  athletics diverges between men and  women at

          any   institution,  the  district  court's  interpretation  would



                                         -99-
                                         -99-















          require  that  such  an  institution  treat  an  individual  male

          student's  athletic interest and  an individual  female student's

          athletic   interest   completely   differently:   one   student's

          reasonable interest would have  to be met, by law,  while meeting
                                                     ______

          the other  student's interest  would only  aggravate the  lack of

          proportionality  giving rise to the  legal duty.   "The injury in

          cases  of  this kind  is  that  a 'discriminatory  classification

          prevent[s] . . . competition on an equal footing.'"  Adarand, 115
                                                               _______

          S.  Ct. at  2104 (quoting  Northeast Fla. Chapter,  Assoc'd Gen'l
                                     ______________________________________

          Contractors  of  America  v.  Jacksonville,  508  U.S.  656,  666
          ________________________      ____________

          (1993)).   As a result, individual male and female students would

          be  precluded  from  competing  against  each  other  for  scarce

          resources;  they would  instead compete  only against  members of

          their own gender.  Cf. Hopwood v. Texas, 78 F.3d 932, 943-46 (5th
                             ___ _______    _____

          Cir.)  (concluding  that   not  only   would  government   action

          precluding competition between individuals of different races for

          law  school  admissions be  unconstitutional,  but  in fact  even

          partial  consideration  of  race  among other  factors  would  be

          unconstitutional), cert. denied, 116 S.Ct. 2581 (1996).27
                             ____________

                                
            ____________________

            27.  In response, appellees cite Kelley v. Board of Trustees,
                                             ______    _________________
            35 F.3d 265 271  (1994), for the proposition that  the three-
            prong test does not  constitute a quota, because it  does not
            "require any educational institution to grant preferential or
            disparate treatment" to  the gender underrepresented  in that
            institution's athletic program.  Id.  However, in Kelley, the
                                             ___              ______
            Seventh Circuit, unlike  the district court, did  not use the
            three-prong test as a definitive test for liability.  Rather,
            the Seventh Circuit endorsed the test as one  for compliance,
            in dismissing  the plaintiff's  claims.  The  Seventh Circuit
               ___________________________
            did  not consider the question  of whether, had the defendant

                                        -100-
                                        -100-















                    The   majority  claims   that   "neither   the   Policy

          Interpretation nor  the  district court's  interpretation of  it,

          mandates statistical  balancing."  Majority  Opinion at 41.   The
          ________

          logic of this position escapes me.  A school can satisfy the test

          in  three ways.   The first prong  is met if  the school provides

          participation  opportunities  for  male and  female  students  in

          numbers substantially  proportionate to their enrollments.   This

          prong surely requires statistical balancing.  The second prong is

          satisfied if an institution that cannot meet prong one can show a

          "continuing practice  of program expansion  which is demonstrably

          responsive  to  the  developing  interest and  abilities  of  the

          members  of the underrepresented sex."   44 Fed.  Reg. at 71,418.

          It can  hardly be  denied  that this  prong requires  statistical

          balancing as it is essentially a test that requires the school to

          show that  it is moving in the  direction of satisfying the first

          prong.  Establishing that a school is moving inexorably closer to

          satisfying a  requirement that demands  statistical balancing can

          only be done by  demonstrating an improvement in the  statistical

          balance.    In  other  words,  the  second  prong  also  requires

          balancing.  Finally, the third prong, interpreted as the majority

          advocates, dispenses  with statistical balancing only  because it

                                
            ____________________

            University  of  Illinois  not  been in  compliance,  lack  of
                                      ___
            compliance  with  the three-prong  test  alone  would trigger
                                                     _____
            automatic liability,  nor did  the Seventh Circuit  spell out
            what steps would  have been  required of defendant.   At  any
            rate,  Kelley  pre-dates  the  Supreme  Court's  opinions  in
                   ______
            Adarand and Virginia,  meaning that it suffers from  the same
            _______     ________
            defects as Cohen II.
                       ________

                                        -101-
                                        -101-















          choose to accord zero weight to one side of the  balance.  Even a

          single  person   with   a  reasonable   unmet  interest   defeats

          compliance.    This standard,  in  fact,  goes farther  than  the

          straightforward  quota test  of  prong  one.   According  to  the

          district court,  the unmet interests of  the underrepresented sex

          must be completely accommodated before any of the interest of the
                  __________                     ___

          overrepresented gender can be accommodated.28

                    A pragmatic  overview of the effect  of the three-prong

          test leads me to reject the majority's claim that the three-prong

          test  does not  amount to  a quota  because it  involves multiple

          prongs.  In  my view it  is the result of  the test, and  not the

          number of steps involved, that should determine if a quota system

          exists.   Regardless  of how  many steps  are involved,  the fact

          remains  that  the  test  requires   proportionate  participation

          opportunities for both sexes (prong one) unless one sex is simply

          not  interested in participating (prong  three).  It  seems to me

          that a quota with an exception for  situations in which there are


                                
            ____________________

            28.  The  problem  with   the  majority s  argument   can  be
            illustrated  with  a hypothetical  college  admissions policy
            that would require proportionality  between the gender  ratio
            of the  local student  aged population and  that of  admitted
            students.   This  policy is  comparable to  prong one  of the
            three prong test and is, without a doubt, a quota.   It is no
            less  a quota if an exception exists for schools whose gender
            ratio  differs from  that of the  local population  but which
            admit  every applicant  of the  underrepresented gender.   It
            remains a quota because  the school is forced to  admit every
            female  applicant until it  reaches the requisite proportion.
            Similarly, the  district court's interpretation  requires the
            school to  accommodate the interests of  every female student
            until proportionality is reached.

                                        -102-
                                        -102-















          insufficient interested students to  allow the school to  meet it

          remains  a  quota.    All of  the  negative  effects  of a  quota

          remain,29 and the school  can escape the quota under  prong three

          only  by offering  preferential treatment to  the group  that has

          demonstrated less interest in athletics.

                      2. "Extremely Persuasive Justification" Test
                      2. "Extremely Persuasive Justification" Test

                    In view  of the  quota scheme  adopted by the  district

          court, and Congress' specific disavowal of any  intent to require

          quotas as part of Title  IX, appellees have not met their  burden

          of  showing an  "exceedingly  persuasive justification"  for this

          gender-conscious exercise of  government authority.   As recently

          set forth in Virginia, "[p]arties who seek to defend gender-based
                       ________

          government  action  must demonstrate  an  'exceedingly persuasive

          justification' for that action."  Virginia, 116 S.Ct. at 2274.
                                            ________

          While the Supreme Court in Virginia acknowledged that "[p]hysical
                                     ________

          differences between  men and  women . .  . are enduring,"  id. at
                                                                     ___

          2276,  it went on  to state  that such  "'[i]nherent differences'

          between men and women,  we have come to appreciate,  remain cause

          for  celebration, but not for . .  . artificial constraints on an

          individual's opportunity." Id.
                                     ___




                                
            ____________________

            29.  Nor  does the  second  prong  of  the  test  change  the
            analysis.  That prong merely recognizes that a school may not
            be able  to  meet the  quotas  of the  first or  third  prong
            immediately,  and  therefore  deems  it  sufficient  to  show
            program  expansion that is responsive to the interests of the
            underrepresented sex.

                                        -103-
                                        -103-















                    Neither   appellees   nor  the   district   court  have

          demonstrated  an "exceedingly  persuasive justification"  for the

          government action  that the district  court has directed  in this

          case.    In  fact,   appellees  have  failed  to  point   to  any
                                                                        ___

          congressional  statement or  indication  of  intent  regarding  a

          proportional  representation scheme  as applied  by the  district

          court.   While  they  point to  Congress'  decision  to  delegate

          authority to the  relevant agencies,  this does not  amount to  a

          genuine  --  that is,  not hypothesized  or  invented in  view of

          litigation, id.  at 2275 --  exceedingly persuasive justification
                      ___

          in light of section 1681(b)'s "no  quota" provision.  We are left

          with  the explanations discussed in  Cohen II to  the effect that
                                               ________

          Congress  conducted hearings  on  the  subject of  discrimination

          against  women in  education.   There is  little more  than that,

          because Congress  adopted Title IX  as a floor  amendment without

          committee hearings or reports.  See Cohen II, 991 F.2d at 893.
                                          ___ ________

                    I believe  that the district  court's interpretation of

          the  Policy  Interpretation's   three-prong  test  poses  serious

          constitutional  difficulties.   "[W]here an  otherwise acceptable

          construction  of a  statute  would  raise serious  constitutional

          problems, [we] construe the statute to avoid such problems unless

          such construction is plainly contrary to the intent of Congress."

          Edward J. DeBartolo Corp.  v. Florida Gulf Coast Bldg.  &amp; Constr.
          _________________________     ___________________________________

          Trades  Council, 485 U.S. 568 (1988); see NLRB v. Catholic Bishop
          _______________                       ___ ____    _______________

          of  Chicago, 440  U.S.  490,  507 (1979).    To  the extent  that
          ___________



                                        -104-
                                        -104-















          Congress  expressed a  specific  intent germane  to the  district

          court's  interpretation,  Congress,  if  anything,  expressed  an

          aversion to quotas as a method to enforce Title IX.  As a result,

          I opt for Brown's construction of prong three, which, as  we have

          discussed, infra, is also a reasonable reading.
                     _____

                    Accordingly,  I would  reverse and  remand for  further

          proceedings.

                               III. Evidentiary Issues
                               III. Evidentiary Issues

                    In  disputes  over  the  representation  of   women  in

          athletic  programs, it  is  inevitable that  statistical evidence

          will  be relevant.    There  is simply  no  other  way to  assess

          participation  rates,   interest  levels,  and  abilities.    The

          majority  opinion, however,  offers  inconsistent  guidance  with

          respect to the role of  statistics in Title IX claims.   Early in

          the opinion,  the majority  approvingly cites to  the statistical

          evaluations conducted  in  Cohen  I, Cohen  II,  and  Cohen  III.
                                     ________  _________        __________

          Majority  Opinion at 8-10.   The figures  in question demonstrate

          that women s participation in athletics is less than proportional

          to their enrollment.   Later  in the opinion,  however, when  the

          level  of interest among  women at Brown  is at  issue, the court

          adopts  a   much  more  critical  attitude   towards  statistical

          evidence: "[T]here exists the  danger that, rather than providing

          a  true  measure  of  women s  interest  in  sports,  statistical

          evidence purporting to reflect women s interest instead  provides

          only a  measure of the very  discrimination that is and  has been



                                        -105-
                                        -105-















          the  basis for women s lack of opportunity."  Majority Opinion at

          53.   In other words, evidence of differential levels of interest

          is not to be credited because it may simply reflect the result of

          past discrimination.

                    The  refusal to  accept surveys  of interest  levels as

          evidence of interest raises the question of what indicators might

          be used.  The majority offers no guidance to a  school seeking to

          assess  the levels  of interest  of its  students.   Although the

          three-prong  test, even  as  interpreted by  the district  court,

          appears to  allow the school  the opportunity to  show a lack  of

          interest, the majority rejects the best -- and perhaps the only -

          - mechanism for making such a showing.

                    Brown claims that the district court erred in excluding

          evidence pertaining to the relative athletic interests of men and

          women  at the  university.   Brown sought  to introduce  the NCAA

          Gender Equity Study and  the results of an undergraduate  poll on

          student  interest in athletics, but  was not permitted  to do so.

          The majority is unsympathetic to Brown's claim that the disparity

          between  athletic  opportunities  for  men and  women  reflect  a

          gender-based  difference in  interest  levels.   Indeed,  despite

          Brown's  attempt to present evidence in support of its claim, the

          majority   characterizes   Brown's  argument   as   an  "unproven

          assertion."  Majority Opinion at 51.30

                                
            ____________________

            30.  Among  the   evidence  submitted   by  Brown   are:  (i)
            admissions data showing greater athletic interest among  male
            applicants than  female applicants;  (ii) college  board data

                                        -106-
                                        -106-















                    Furthermore, the majority recognizes  that institutions

          are  entitled  to  use  any  nondiscriminatory  method  of  their

          choosing to determine athletic interests.  Majority Opinion at 53

          n.15.  If  statistical evidence of  interest levels is not  to be

          considered by courts,  however, there  is no way  for schools  to

          determine whether they are in compliance.  Any studies or surveys

          they might conduct in order to assess their own compliance would,

          in  the event of litigation, be deemed irrelevant.  Regardless of

          the  efforts made by the  academic institution, the  specter of a

          lawsuit would be ever-present.

                    In  addition, the majority has put the power to control

          athletics and the provision of athletic resources in the hands of

          the  underrepresented gender.   Virtually  every other  aspect of

          college life is  entrusted to the institution,  but athletics has

          now  been carved  out as an  exception and  the university  is no

          longer in full  control of its program.   Unless the  two genders


                                
            ____________________

            showing  greater  athletic interest  and  prior participation
            rates by prospective male  applicants than female applicants;
            (iii)  data  from  the  Cooperative   Institutional  Research
            Program at UCLA  indicating greater  athletic interest  among
            men  than women; (iv) an independent  telephone survey of 500
            randomly  selected  Brown  undergraduates  that  reveals that
            Brown offers  women participation opportunities in  excess of
            their  representation in  the  pool of  interested, qualified
            students; (v)  intramural and  club participation  rates that
            demonstrate  higher participation rates among men than women;
            (vi)  walk-on  and try-out  numbers  that  reflect a  greater
            interest   among  men   than   women;   (vii)   high   school
            participation  rates   that  show   a  much  lower   rate  of
            participation among females than among males; (viii) the NCAA
            Gender Equity  Committee data  showing that women  across the
            country participate in athletics at a lower rate than men.

                                        -107-
                                        -107-















          participate equally in athletics, members of the underrepresented

          sex would  have the ability to demand a varsity level team at any

          time  if they can show sufficient interest.  Apparently no weight

          is given  to the sustainability of the  interest, the cost of the

          sport, the  university s view on  the desirability of  the sport,

          and so on.

                              IV. FIRST AMENDMENT ISSUE
                              IV. FIRST AMENDMENT ISSUE

                    Finally,  it  is  important  to   remember  that  Brown

          University  is  a  private  institution  with a  constitutionally

          protected  First  Amendment  right  to  choose  its   curriculum.

          Athletics  are part of that curriculum.  Although the protections

          of the First Amendment cannot  be used to justify discrimination,

          this  court should  not forget that  it has  a duty  to protect a

          private  institution s   right  to  mould  its   own  educational

          environment.

                    The majority pays  lip service to these concerns in the

          final pages of its long opinion, stating  that " we are a society

          that  cherishes academic freedom and recognizes that universities

          deserve great leeway in their operations. "   Majority Opinion at

          69  (quoting Cohen II,  991 F.2d at 906),  and "[o]ur respect for
                       ________

          academic freedom  and reluctance to interject  ourselves into the

          conduct of university affairs  counsels that we give universities

          as  much freedom as possible."   Majority Opinion at 75.  Despite

          these statements, however, the majority in its opinion today, and

          the  district  court   before  it,  have  failed  to  give  Brown



                                        -108-
                                        -108-















          University  freedom  to craft  its  own athletic  program  and to

          choose  the  priorities of  that  program.    Instead, they  have

          established a  legal rule that  straightjackets college athletics

          programs by curtailing  their freedom to  choose the sports  they

          offer. 











































                                        -109-
                                        -109-









